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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

STATE OF TEXAS, et al.,
        Plaintiffs,

v.                                                            No. 5:21-CV-300-H

XAVIER BECERRA, Secretary of Health
and Human Services, et al.,
        Defendants.

                       MEMORANDUM OPINION AND ORDER
       In response to the President’s plan to increase COVID-19 vaccinations, the Department

of Health and Human Services created two unprecedented conditions on funding for Head

Start programs, which provide education-related services to needy children. HHS’s new rule

mandated COVID-19 vaccination for staff and near-universal masking. Because there was a

substantial likelihood that the agency’s action was unauthorized and procedurally improper,

the Court preliminarily enjoined implementation and enforcement of the rule. HHS did not

appeal, and it has since removed the masking requirement, but the vaccine mandate remains.

Now, both sides seek summary judgment. The parties largely restate arguments made during

the preliminary-injunction stage, in addition to briefing the effect of Biden v. Missouri, which

issued after the Court’s injunction and upheld HHS’s healthcare-worker vaccine mandate.

After careful consideration—and because Biden v. Missouri involved materially different

statutory text and context—the Court reaches the same conclusion it did earlier. The Court

grants summary judgment for the plaintiffs because (1) no permissible construction of the Head

Start Act could authorize the rule; (2) HHS failed to follow proper rulemaking procedures; and

(3) the rule is arbitrary and capricious. Thus, the Court vacates the rule, and binding precedent

makes clear that vacatur should not be limited to the parties but is rather universal.
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       The wisdom of Head Start’s rule is not before the Court—only its legality. If the

people, through Congress, wish to impose a vaccine mandate on Head Start programs, they

may do so by passing a law. But an agency can do only what Congress authorizes it to do.

Regardless of how well intentioned, HHS’s attempt here to shoehorn the vaccine mandate into

statutory language authorizing modification of Head Start’s administrative, financial, and

facility-management standards goes too far. Equally fatal to the rule is the agency’s decision to

implement it without the necessary public notice and comment, consultation with

stakeholders, and reasonable explanation. Under these circumstances, the law requires the

Court to vacate the rule and remand the matter to HHS.

1.     Factual and Procedural Background

       A.     Head Start

       The Department of Health and Human Services (HHS) offers grants to schools,

nonprofits, and other local organizations to run Head Start programs. Those programs

“promote the school readiness of low-income children” by creating supportive learning

environments and providing educational, nutritional, social, health, and other services to

young children and their families. 42 U.S.C. § 9831. Many Head Start programs are

operated through local school districts, like Lubbock Independent School District (LISD), in

the form of pre-K classes. See, e.g., Dkt. No. 1-3 at 3. Texas Tech operates an Early Head

Start program, which is offered for children under age three. Dkt. No. 1-4 at 2; see 42

U.S.C. § 9840a. In 2021, HHS awarded $842,280,184 in grants to Texas Head Start

programs. Dkt. No. 1-2 at 35. LISD and Texas Tech University received a portion of this

funding for their programs. Id. at 2, 9–10, 17, 20, 26, 30, 33.




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        In response to the COVID-19 pandemic, the Office of Head Start (OHS) allowed

local providers to adjust their services as necessary depending on community conditions and

needs. Dkt. Nos. 5-9 at 2–3; 27 at 4 (listing the OHS May 2021 guidance in the

administrative record); 86 Fed. Reg. at 68,058 n.66 (citing the guidance in the interim final

rule). In its May 2021 guidance, the agency recognized that “[t]o date, OHS [has] provided

needed flexibilities and guidance that allowed programs to adapt services based on the

changing health conditions in their communities.” Dkt. No. 56 at 91. As a result, while

some Head Start programs offered virtual and remote services, “[m]any programs continued

to provide in-person services for children and families throughout the COVID-19

pandemic.” Id. OHS knew, however, that “virtual and remote services . . . are not an

acceptable replacement for in-person comprehensive services.” Id. at 92. In fact, OHS

reported that “[a]lmost one third of children served in Head Start programs before the

pandemic—approximately 250,000—ha[d] not received services to date.” Id. at 93. Thus,

OHS’s May 2021 guidance instructed its in-person programs “to continue serving children

in person, as local health conditions allow.” Id. at 91. OHS also made clear that the virtual

programs “[we]re expected to move to in-person services, as local health conditions allow.”

Id. at 92.

        According to the CDC, OHS’s flexible, community-level approach to early

childhood education during the pandemic was successful. As the CDC stated in its report,

“[s]ince the COVID-19 pandemic started, Head Start and Early Head Start programs

successfully implemented CDC-recommended mitigation strategies and applied other

innovative approaches to limit SARS-CoV-2 transmission among children, teachers, and




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other staff members by allowing maximum program flexibility and allocating financial and

human resources.”1

        In the 2020–21 school year, LISD implemented a mask mandate in line with

Governor Abbott’s Executive Order and Texas Education Agency public-health guidance.

Dkt. 1-3 at ¶ 4. Masks were required for students in fourth grade and above. Id. In the

2021–22 school year, however, LISD decided that masks would be welcome and

vaccinations encouraged, but neither would be mandatory. Id. at ¶ 5–6. Before the school

year began, 84% of LISD’s staff reported having received at least one vaccine dose. Id. at

¶ 6. Of 1,847 active cases since August 18, 2021, 26 were pre-K students and none were pre-

K staff. Id. at ¶ 5.

        B.      The Vaccine Mandate

        On September 9, 2021, the President announced “a new plan to require more

Americans to be vaccinated.”2 Stating that “our patience is wearing thin” with the

unvaccinated, the President asserted that “we must increase vaccinations among the

unvaccinated with new vaccination requirements.” Id. Those requirements would apply to

employers with 100 or more employees, healthcare workers, executive branch federal

employees, and “all of nearly 300,000 educators” in the Head Start program. Id. The

President did not hide the fact that his school-related mandate “takes on elected officials and

states,” explaining that “if these governors won’t help us beat the pandemic, I’ll use my

power as President to get them out of the way.” Id.



1
  CDC Morbidity and Mortality Weekly Report (Dec. 11, 2020), https://www.cdc.gov/mmwr/
volumes/69/wr/mm6949e3.htm [https://perma.cc/LY6K-ZS7Y] (available at Dkt. No. 29-9).
2
  Joseph Biden, Remarks by President Biden on Fighting the COVID-19 Pandemic (Sept. 9, 2021),
  https://www.whitehouse.gov/briefing-room/speeches-remarks/2021/09/09/remarks-by-
  president-biden-on-fighting-the-covid-19-pandemic-3/ [https://perma.cc/VW2F-3Z47].


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          On November 30, 2021, the Administration for Children and Families (ACF)—a

division of HHS—issued an Interim Final Rule with Comment (Rule) imposing mask and

COVID-19 vaccine mandates in Head Start programs. See Vaccine and Mask Requirements

to Mitigate the Spread of COVID-19 in Head Start Programs, 86 Fed. Reg. 68,052 (Nov. 30,

2021) (to be codified at 45 C.F.R. pt. 1302). As its name suggests, the Rule’s stated purpose

is “to protect the health and safety of Head Start staff, children, and families and to mitigate

the spread of SARS–CoV–2 in Head Start programs.” Id. at 68,053.

          ACF promulgated the Rule by adding the mandates to existing “Head Start Program

Performance Standards.” Id. at 68,052. Specifically, the Rule required “universal masking

for all individuals aged 2 years and older,” with limited exceptions, in all indoor settings

where Head Start services are provided and in Head Start vehicles. Id. at 68,060. And “for

those not fully vaccinated,” masks were required “outdoors in crowded settings or during

activities that involve sustained close contact with other people.” Id.

          The Rule also requires “all Head Start staff, certain contractors, and volunteers in

classrooms or working directly with children to be fully vaccinated,” with certain

exemptions.4 Id. For those granted an exemption from the vaccine requirement, weekly

COVID-19 testing is required. Id. at 68,061.

          The Rule took effect immediately—November 30, 2021—before public notice-and-

comment procedures were followed. Citing the threat posed by rising COVID-19 cases and

the hope to return fully to in-person instruction in 2022, the Secretary found that there was


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    Exemptions are available “for those (i) for whom a vaccine is medically contraindicated, (ii) for
    whom medical necessity requires a delay in vaccination, or (iii) who are legally entitled to an
    accommodation with regard to the COVID–19 vaccination requirement based on an applicable
    Federal law.” Id. at 68,061 (footnotes omitted). Accommodations based on federal law may be
    granted for “a disability under the ADA, medical condition, or sincerely held religious beliefs,
    practice, or observance.” Id.


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“good cause” to waive the notice-and-comment procedures normally required when an

agency promulgates a regulation. See id. at 68,059 (finding good cause to waive notice-and-

comment procedures). The mask requirement was effective immediately, while the vaccine

mandate required compliance by January 31, 2022. Id. at 68,060–62. Programs that refused

to implement the Rule’s dual mandates risked losing their Head Start funding entirely. See

42 U.S.C. § 9836a(e)(1)(C); 45 C.F.R. § 1304.5 (2023) (“Termination and denial of

refunding”).

       C.      This Litigation

       Plaintiffs—the State of Texas and LISD—filed this action on December 10, 2021,

seeking a Court order enjoining the Rule’s enforcement and setting aside the Rule. Dkt.

No. 1. The plaintiffs allege that several statutory and constitutional defects render the Rule

procedurally and substantively invalid. Id. Just a few days later, the plaintiffs filed a motion

seeking a temporary restraining order and a preliminary injunction. Dkt. Nos. 6; 8. The

defendants then appeared through counsel. Dkt. No. 14. The Court set an expedited

briefing schedule (Dkt. No. 15) and held an evidentiary hearing to allow the parties to offer

evidence and argument (Dkt. Nos. 40; 41).

       During the evidentiary hearing, the defendants made several relevant concessions.

First, they noted that the vaccine and mask mandates are not “health services” within the

meaning of the Head Start Act. Dkt. No. 41 at 40. Second, they explained that the agency

did not assert that the Rule was or could be authorized under 42 U.S.C. § 9836a(a)(1)(A),

which are “performance standards with respect to services required to be provided,

including health . . . services.” Id. at 40–41. Third, although the defendants did argue that

the Rule could be authorized as an “administrative” standard under subsection (C), they



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admitted that it could not qualify as a “financial management standard.” Id. at 48. And

finally, the defendants conceded that, while other health services made available to children

by Head Start are “strongly encouraged,” this is the first time that Head Start has ever

mandated a “health procedure” as a precondition to new or ongoing employment. Id. at

45–47. The defendants admitted that the Rule is unprecedented, although they asserted that

it is justified by an unprecedented pandemic. Id. at 52, 55–58.

          Following the evidentiary hearing, the Court granted the plaintiffs’ motion for a

preliminary injunction in a 56-page order and preliminarily enjoined the defendants from

implementing and enforcing the Rule.6 Dkt. No. 42. The Court concluded that “there is a

substantial likelihood that the mandates do not fit within the Head Start Act’s authorizing

text, [] HHS failed to follow the APA in promulgating the mandates, and [] the mandates

are arbitrary and capricious.” Id. at 1.

          Notably, the deadline to appeal the preliminary injunction came and passed, and the

defendants did not appeal. Dkt. No. 45. Thereafter, the Court ordered a joint status report

(id.), and the parties informed the Court that they intended to forego discovery and proceed

to the summary judgment stage (Dkt. No. 46).

          The defendants subsequently filed a Motion to Dismiss pursuant to Federal Rules of

Civil Procedure 12(b)(1) and 12(b)(6) (Dkt. No. 48), a Motion for Summary Judgment (Dkt.

No. 49), and their Brief in Support of Their Motion to Dismiss, or in the Alternative,

Motion for Summary Judgment (Dkt. No. 52). The defendants assert that Texas does not

have standing because it has not suffered an injury in fact. Dkt. No. 52 at 24–27. They also




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    The plaintiffs’ motion for a TRO was denied as moot in light of the preliminary injunction. Dkt.
    No. 42 at 56.


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allege that the plaintiffs have failed to state a claim or, alternatively, that the defendants are

entitled to summary judgment. Id. at 27–68. In their view, the Secretary had statutory

authority to issue the Rule (id. at 27–41), the Rule is not arbitrary and capricious (id. at 41–

54), and the Secretary had good cause to issue the Rule before the typical advance notice-

and-comment period occurred (id. at 58). Furthermore, the defendants claim that the Rule

does not violate other constitutional or statutory provisions. Id. at 63–68. Thus, they

request that the Court “dismiss the [c]omplaint, or in the alternative, enter summary

judgment in favor of the [d]efendants.” Id. at 68.

       The plaintiffs also filed a Motion for Summary Judgment and an accompanying

brief. Dkt. Nos. 54; 54-1. They assert that the Rule lacks statutory authority and is arbitrary

and capricious in violation of the APA. Dkt. No. 54-1 at 11–38, 47–49. In addition, the

Secretary did not follow proper rulemaking procedures when promulgating the Rule. Id. at

38–41. According to the plaintiffs, the Secretary did not follow the procedures set forth by

the Head Start Act for modifying standards. Id. Furthermore, because the Secretary lacked

good cause, the Rule was adopted in violation of the notice-and-comment requirement. Id.

at 41–44. Moreover, the plaintiffs allege that the Rule violates other statutes and various

constitutional doctrines. Id. at 44–47, 49–52. For these reasons, they ask that the Court

hold the Rule unlawful, set it aside under the APA, and enjoin enforcement of the Rule. Id.

at 52–53. The motions have been fully briefed and are ripe for review. Dkt. Nos. 58; 59; 60;

61; 63; 64.

       In January 2023, however, after the motions had been filed, the defendants filed a

Notice of Final Rule Addressing Masking Requirement, informing the Court that HHS had

published the Final Rule, which “modifies portions of the interim final rule challenged in



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this litigation.” Dkt. No. 68 at 1; see Mitigating the Spread of COVID-19 in Head Start

Programs, 88 Fed. Reg. 993 (Jan. 6, 2021) (to be codified at 45 C.F.R. pt. 1302). The Final

Rule “removes the requirement for universal masking for all individuals ages 2 and older.”

88 Fed. Reg. at 993. It also requires that Head Start Programs “have an evidence-based

COVID-19 mitigation policy” that takes “local conditions,” among other factors, into

consideration. Id. at 994–95. This “allows the rule to continue to be relevant and up to date

as the level of COVID-19 impact in communities changes.” Id. at 995. Nevertheless, the

Final Rule does not “address the vaccination and testing requirement, which is still under

review.” Id. at 993. And while the Final Rule discusses comments relating to the mask

mandate, it does not address any of the comments pertaining to the vaccine requirement.

See id. at 996–99.

       Instead, the Final Rule states that “[t]he vaccine requirement” imposed by the Rule

continues to “remain[] in effect.” Id. at 993, 1001; see also 45 C.F.R. §§ 1302.93, 1302.94.

Under the Rule, Head Start staff continue to remain subject to the vaccine mandate, and

programs that do not enforce the vaccine requirement are still at risk of losing funding. See

86 Fed. Reg. at 68,060; 42 U.S.C. § 9836a(e)(1)(C); 45 C.F.R. § 1304.5 (2023)

(“Termination and denial of refunding”). The parties do not dispute that the Rule’s vaccine

mandate remains in effect and is ripe for the Court’s decision. See Dkt. No. 68 at 1.

2.      Standards of Review

       A.      12(b)(1) Motion to Dismiss

       Under Federal Rule of Civil Procedure 12(b)(1), a party may file a motion

challenging the Court’s subject matter jurisdiction to hear a case. Ramming v. United States,

281 F.3d 158, 161 (5th Cir. 2001). A court must dismiss the case if it “lacks the statutory or



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constitutional power to adjudicate the case.” Krim v. pcOrder.com, Inc., 402 F.3d 489, 494

(5th Cir. 2005) (citation omitted). Federal courts have jurisdiction over cases or

controversies only, and standing is “an essential and unchanging part of the case-or-

controversy requirement of Article III.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)

(citing Allen v. Wright, 468 U.S. 737, 751 (1984)). “[S]tanding is not dispensed in gross;

rather, plaintiffs must demonstrate standing for each claim that they press and for each form

of relief that they seek.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021). To

demonstrate that federal court is the proper forum for resolving a dispute, the party invoking

the federal forum—here, the plaintiffs—must show

       (1) [they] ha[ve] suffered an ‘injury in fact’ that is (a) concrete and
       particularized and (b) actual or imminent, not conjectural or hypothetical;
       (2) the injury is fairly traceable to the challenged action of the defendant[s]; and
       (3) it is likely, as opposed to merely speculative, that the injury will be redressed
       by a favorable decision.”

Gilbert v. Donahoe, 751 F.3d 303, 312 (5th Cir. 2014).

       “The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction. Accordingly, the plaintiffs constantly bear the burden of proof that jurisdiction

does in fact exist.” Ramming, 281 F.3d at 161 (internal citations omitted). To have standing,

the plaintiffs need not demonstrate actual entitlement to relief; they “need only provide

sufficient facts, which, if taken as true, establish an injury . . . that could be redressed by an

order of th[e] court.” Id. The plaintiffs must “support [each element of standing] in the

same way as any other matter on which the plaintiff[s] bear[] the burden of proof.” Lujan,

504 U.S. at 561. “When a Rule 12(b)(1) motion is filed in conjunction with other Rule 12

motions, the [C]ourt should consider the Rule 12(b)(1) jurisdictional attack before




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addressing any attack on the merits.” Ramming, 281 F.3d at 161 (citing Hitt v. City of

Pasadena, 561 F.3d 606, 608 (5th Cir. 1977)).

       B.      12(b)(6) Motion to Dismiss

       A party may also bring a Rule 12(b)(6) motion to dismiss for “failure to state a claim

upon which relief can be granted.” “To survive a motion to dismiss, a complaint must

contain sufficient factual matter which, when taken as true, states ‘a claim to relief that is

plausible on its face.’” Innova Hosp. San Antonio, Ltd. P’ship v. Blue Cross & Blue Shield of Ga.,

Inc., 892 F.3d 719, 726 (5th Cir. 2018) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). Thus, the plaintiffs must plead facts “that allow[] [the] court to draw the reasonable

inference that the defendant[s] [are] liable for the misconduct alleged.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). “Generally, a court ruling on a 12(b)(6) motion may rely on the

complaint, its proper attachments, documents incorporated into the complaint by reference,

and matters of which the court may take judicial notice.” Innova Hosp. San Antonio, Ltd.

P’ship, 892 F.3d at 726 (quoting Wolcott v. Sebelius, 635 F.3d 757, 763 (5th Cir. 2011))

(internal citations and quotation marks omitted).

       A motion to dismiss pursuant to Rule 12(b)(6) “is viewed with disfavor and is rarely

granted.” Turner v. Pleasant, 663 F.3d 770, 775 (5th Cir. 2011) (internal citation omitted).

The Court must “accept all well-pled facts as true, construing all reasonable inferences in the

complaint in the light most favorable to the plaintiff[s].” White v. U.S. Corrections, LLC, 996

F.3d 302, 306–07 (5th Cir. 2021). Dismissing the complaint “is not appropriate unless the

plaintiff[s’] pleadings on their face show, beyond a doubt, that the plaintiff[s] cannot prove

any set of facts sufficient to entitle [them] to relief.” Motient Corp. v. Dondero, 529 F.3d 532,

535 (5th Cir. 2008).



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       C.      Summary Judgment

       “A party may move for summary judgment, identifying each claim or defense . . . on

which summary judgment is sought.” Fed. R. Civ. P. 56(a). “The court shall grant

summary judgment if the movant shows that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Id. Movants must support

their assertion that there is no genuine dispute as to any material fact by “citing to particular

parts of materials in the record[] . . . or showing that the materials cited do not establish the

. . . presence of a genuine dispute.” Fed. R. Civ. P. 56(c)(1)(A). Courts must consider “only

the cited materials [] but . . . may consider other materials in the record.” Id. In evaluating

a motion under Rule 56, the Court must determine whether, after considering the evidence

in the light most favorable to the nonmoving party, a rational jury could find in favor of that

party. Scott v. Harris, 550 U.S. 372, 380 (2007) (citing Matsushita Elec. Indus. Co. v. Zenith

Radio Corp., 475 U.S. 574, 586–87 (1986)).

3.     The plaintiffs have standing.

       The defendants argue that the Court should dismiss Texas’s claims under Rule

12(b)(1), alleging that Texas does not have standing because it has not suffered an injury in

fact. Dkt. No. 52 at 24–27. The defendants, however, do not challenge LISD’s standing.

See id.; see also Dkt. Nos. 59 at 8; 63 at 5–8. This is important because only one party must

have standing for the Court to reach the remaining plaintiffs’ claims. Texas v. United States,

809 F.3d 134, 151 (5th Cir. 2015) (quoting Rumsfeld v. Forum for Acad. & Institutional Rights,

Inc., 547 U.S. 47, 52 n.2 (2006)). Therefore, if LISD has standing, then the Court may reach

Texas’s claims, too, which in any event are identical to LISD’s. Even so, Texas has

independently established that it has standing because it, too, satisfies the injury-in-fact



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requirement. As explained below, Texas’s sovereign policy-making and enforcement

powers have been inhibited, Texas has parens patriae standing, and Texas’s procedural rights

have been violated.

       To demonstrate that the Court has jurisdiction, the plaintiffs must demonstrate that

they suffered an “injury in fact.” Lujan, 504 U.S. at 560. An injury is “an invasion of a

legally protected interest” that is both “concrete and particularized” and “actual or

imminent, not conjectural or hypothetical.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016)

(quoting Lujan, 504 U.S. at 560). A concrete injury is one that must “actually exist”—it

must be “real, and not abstract.” Id. at 340 (internal quotation marks omitted). As for

particularity, the plaintiff must be affected in a “personal and individual way.” Id. at 339

(quoting Lujan, 504 U.S. at 560 n.1). “Tangible” and “concrete” are not synonyms; the

former is broader than the latter, which encompasses intangible injuries within “injuries in

fact.” See TransUnion, 141 S. Ct. at 2204.

       Similarly, under Article III, an injury in law is not an injury in fact. “Only those

plaintiffs who have been concretely harmed by a defendant’s statutory violation may sue

that private defendant over that violation in federal court.” Id. at 2205 (emphasis omitted).

Therefore, a plaintiff who “is merely seeking to ensure a defendant’s ‘compliance with

regulatory law’” does not have “grounds for Article III standing” absent some “physical,

monetary, or cognizable intangible harm traditionally recognized as providing a basis for a

lawsuit in American Courts.” Id. at 2206 (quoting Spokeo, 578 U.S. at 345). An increased

regulatory burden, however, typically satisfies the injury-in-fact-requirement. See Ass’n of

Am. R.R.s v. Dep’t of Transp., 38 F.3d 582, 586 (D.C. Cir. 1994).




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       A.      LISD has standing to challenge the Rule.

       At the outset, the Court notes that the defendants do not challenge LISD’s standing.

See Dkt. Nos. 52 at 24–27; 59 at 8; 63 at 5–8. In fact, the defendants expressly state that

“any relief granted should be limited to LISD.” Dkt. No. 63 at 8. And as explained in the

Court’s preliminary order, LISD satisfies the requirements for standing. Dkt. No. 42 at 39–

44, 50–52. LISD has demonstrated that it faces various harms by complying with the Rule,

which are sufficient to satisfy injury in fact. Id. at 39–44. LISD also satisfies the traceability

and redressability requirements. Id. at 50–52.

       B.      Because LISD has standing, the Court may reach Texas’s claims.

       Because LISD indisputably has standing, the Court may reach Texas’s claims. As

both the Supreme Court and the Fifth Circuit have made clear, “it is not necessary for all

[p]laintiffs to demonstrate standing; rather ‘one party with standing is sufficient to satisfy

Article III’s case-or-controversy requirement.’” Texas, 809 F.3d at 151 (quoting Rumsfeld,

547 U.S. at 52 n.2); see also Bracken v. Haaland, 994 F.2d 249, 291 (5th Cir. 2021) (“[W]e . . .

need conclude only that one plaintiff in the present case satisfies standing with respect to

each claim.”). Because LISD has standing, Article III’s case-or-controversy requirement

has been satisfied, and the Court has jurisdiction to resolve Texas’s identical claims, too.

See Texas, 809 F.3d at 151–62 (finding that because one of the state plaintiffs had standing,

the remaining state plaintiffs also had standing without additional analysis); Bracken, 994

F.3d at 290–97 (analyzing whether at least one plaintiff had standing for each of the claims

that the plaintiffs raised before moving forward to address those claims). As a result, the

Court denies the defendants’ motion to dismiss for lack of jurisdiction.




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       C.      In any event, Texas has also suffered an injury in fact.

       In the interest of judicial efficiency and out of an abundance of caution, the Court

also concludes that Texas independently satisfies the injury-in-fact requirement sufficient to

provide it with standing. First, Texas’s sovereign policy-making and enforcement powers

have been impeded. See supra Section 3.C.i. Second, Texas has parens patriae standing. See

supra Section 3.C.ii. And third, Texas’s procedural rights have been violated. See supra

Section 3.C.iii.

               i.      Texas has standing because the Rule inhibits Texas’s sovereign
                       policy-making and enforcement powers.

       The defendants seek dismissal because, in their view, Texas has not suffered a

sovereign injury. Dkt. Nos. 48; 52 at 25. The record and binding precedent prove

otherwise.

       “[S]tates have a sovereign interest in ‘the power to create and enforce a legal code.’”

Tex. Off. of Pub. Util. Couns. v. FCC, 183 F.3d 393, 449 (5th Cir. 1999) (quoting Alfred L. Snapp

& Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 601 (1982)). Pursuant to that interest,

states may have standing based on (1) federal assertions of authority to regulate matters they

believe they control, (2) federal preemption of state law, and (3) federal interference with the

enforcement of state law, at least where “the state statute at issue regulate[s] behavior or

provide[s] for the administration of a state program” and does not “simply purport [ ] to

immunize [state] citizens from federal law.” Virginia ex rel. Cuccinelli v. Sebelius, 656 F.3d

253, 269–70 (4th Cir. 2011); see, e.g., Wyoming ex rel. Crank v. United States, 539 F.3d 1236,

1242 (10th Cir. 2008); Alaska v. U.S. Dep’t of Transp., 868 F.2d 441, 443–44 (D.C. Cir. 1989);

Ohio ex rel. Celebrezze v. U.S. Dep’t of Transp., 766 F.2d 228, 232–33 (6th Cir. 1985); cf.

Diamond v. Charles, 476 U.S. 54, 62 (1986) (commenting that “a State has standing to defend


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the constitutionality of its statute” but not relying on that principle). Such intrusions

amount to pressure to change state law. Texas, 809 F.3d at 153. And as the Fifth Circuit

has repeatedly made clear, substantial pressure on states to change their laws affects those

states’ quasi-sovereign interests, particularly where that pressure ultimately pushes the state

“to abandon its laws and policies.” Texas v. EEOC, 933 F.3d 433, 446–47 (5th Cir. 2019);

Texas v. United States, 787 F.3d 733, 752 n.38 (5th Cir. 2015); State v. Biden, 10 F.4th 538, 549

(5th Cir. 2021).

          Here, the Rule inhibits Texas’s sovereign policy-making and enforcement powers.

Texas has elected to prohibit governmental entities from requiring vaccines, and it did so

before issuance of the Rule.7 Texas EO GA-40 (Oct. 11, 2021). But in light of the Rule,

Texas officials who are obliged to enforce Texas law will be forced to decide whether to fine

school districts and officials who choose to deviate from state law and comply with the

regulations simply to avoid losing Head Start funding. This situation is analogous to Texas

v. EEOC, where the Fifth Circuit concluded that Texas had standing to assert its claims

against the EEOC, noting that the guidance at issue encouraged employers “to deviate from

state law when it conflict[ed] with the [g]uidance” for the purpose of avoiding liability. 933

F.3d at 447.

          The defendants’ argument that Texas’s sovereignty interests have not been invaded

because the Rule is not broadly preemptive fails. Dkt. No. 52 at 25. As they concede,



7
    The distinction between a statute and an executive order is not material to this analysis. As
    explained in Texas Government Code § 418.012, the Governor’s “[e]xecutive orders,
    proclamations, and regulations have the force and effect of law.” See also E.T. v. Paxton, 19 F.4th
    760, 770 (5th Cir. 2021) (“While this case centers on an executive order issued by the Governor
    under his emergency authority rather than enforcement of a statute enacted by the plenary
    legislative authority of the people, the same reasoning applies.”). In any event, the defendants do
    not argue that this distinction is material. See Dkt. No. 52 at 25–26.


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“courts have recognized a cognizable Article III harm when a state’s own enforcement

efforts have been hampered.” Id. (emphasis omitted). The net effect of the Rule is a

substantial pressure upon Texas to change, or at least cease enforcing and abandon, its own

laws. Texas therefore suffers an injury in fact because its sovereign policy-making and

enforcement powers have been impeded by the Rule.

               ii.    Texas has parens patriae standing.

       The defendants once again challenge Texas’s assertion that it has parens patriae

standing (Id. at 26–27), but as the Court previously explained in its preliminary-injunction

order (Dkt. No. 42 at 46–49), that argument fails.

       “To have [parens patriae], standing the State must assert an injury to what has been

characterized as a ‘quasi-sovereign’ interest, which is a judicial construct that does not lend

itself to a simple or exact definition.” Alfred L. Snapp, 458 U.S. at 601. Three cases guide

the Court’s understanding of a state’s parens patriae interests.

       First, in Massachusetts v. Mellon, the Supreme Court made clear that states do not have

parens patriae standing to protect their citizens from the operation of federal law. 262 U.S.

447, 485 (1923). Mellon involved a challenge to the Sheppard-Towner Maternity and

Infancy Act, a federal law enacted under President Harding to reduce infant and maternal

mortality. Id. at 479. The Act operated by providing funds—with strings—to state health

agencies. Id. States that did not restructure their operations in accordance with the federal

government’s conditions lost federal funding. Id. at 479–82. Massachusetts sued then-

Treasury Secretary Andrew Mellon, the official responsible for disbursing the funds, arguing

that the Act unconstitutionally legislated “for purposes not national, but local to the states.”

Id. at 479. The Supreme Court rejected Massachusetts’s challenge. Id. at 488–89. The



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court concluded that Massachusetts sought the court’s decision as to an “abstract question[]

of political power”—not a case or controversy. Id. at 485. The court also concluded that

Massachusetts could not bring suit “as the representative of its citizens”—as parens patriae.

Id. Because “the citizens of Massachusetts are also citizens of the United States,”

Massachusetts had no “duty or power to enforce their rights in respect of their relations with

the federal government.” Id. at 485–86. Instead, it was the United States—whose laws are

supreme under the Constitution—who was the citizens’ parens patriae. Id. at 486.

          Six decades later, in Alfred L. Snapp, the Supreme Court refined the so-called Mellon

bar. 458 U.S. 592. While reaffirming Mellon’s core rule, the court restricted it: a state does

have standing to assert its “quasi-sovereign interests” against the federal government. Id. at

607–08, 610 n.16. The Court defined quasi-sovereign interests as a state’s interests “in the

health and well-being—both physical and economic—of its residents in general,” as well as

a state’s “interest in not being discriminatorily denied its rightful status within the federal

system.”8 Id. at 607. The Court went on to explain that “[o]ne helpful indication in

determining whether an alleged injury to the health and welfare of its citizens suffices to

give the State standing to sue as parens patriae is whether the injury is one that the State, if it

could, would likely attempt to address its sovereign lawmaking powers.” Id.

          In 2007, the Supreme Court once again took up the question of parens patriae

standing. In Massachusetts v. EPA, it held that Massachusetts had standing to challenge the

EPA’s failure to regulate greenhouse gasses under the authority granted to it by the Clean




8
    The Court notes, as others have, that the language in Alfred L. Snapp that “[a] State does not have
    standing as parens patriae to bring an action against the federal government” is technically dictum
    but, like others, takes the statement at face value for the purposes of this analysis. 458 U.S. at 610
    n.16.


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Air Act. 549 U.S. 497, 526 (2007). The majority stated that Mellon did not adopt a broad

bar on a state’s parens patriae standing against the federal government because the Mellon

court was not “called upon to adjudicate . . . quasi-sovereign rights actually invaded or

threatened.” Id. at 520 n.17 (emphasis in original). The majority continued that there was a

“critical difference between allowing a State ‘to protect her citizens from the operation of

federal statutes’ (which is what Mellon prohibits) and allowing a State to assert its rights

under federal law (which it has standing to do).” Id. (citing Georgia v. Pa. R. Co., 324 U.S.

439, 447 (1945)). Accordingly, the court concluded that since Massachusetts sought to

invoke its own rights under the Clean Air Act rather than its citizens’, it had standing. See

id. at 522–23, 526.

       The law today is clear that a state has parens patriae standing when a state “assert[s]

its rights under federal law” but lacks standing when it seeks only to “protect her citizens

from the operation of federal statutes.” Id. at 520 n.17. And the “rights” under federal law

a state may protect encompass two general categories of “quasi-sovereign” interests: those

“in the health and well-being—both physical and economic—of its residents in general,”

and those “in not being discriminatorily denied its rightful status within the federal system.”

Alfred L. Snapp, 458 U.S. at 607.

       With that understanding, the Court concludes that Texas has parens patriae standing.

Again, an indicator of parens patriae standing is when a state alleges an injury to the health

and welfare of its citizens that the “State, if it could, would likely attempt to address through

its sovereign lawmaking powers.” Id. That is precisely the situation at hand. Texas

attempted to—and did, in fact—address this injury to its citizens. Dkt. No. 61 at 9–10.

Texas issued Executive Orders GA-38, GA-39, and GA-40, which prohibit state agencies,



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political subdivisions, and any public or private entity in Texas from requiring a person to

receive a COVID-19 vaccine. Texas EO GA-38 (July 29, 2021); Texas EO GA-39 (Aug. 25,

2021); Texas EO GA-40 (Oct. 11, 2021) All of these were promulgated before the

defendants even issued the Rule. See 86 Fed. Reg. 68,052.

       In addition, Texas alleges that the Rule’s enforcement will lead to dramatic declines

in Head Start offerings, adversely impacting students and their families. Dkt. No. 1 at ¶ 81–

85. As the plaintiffs explain, “[a] natural and predictable consequence of the [v]accine

[m]andate is that numerous Head Start faculty, staff, contractors, and volunteers may be

fired, retire or quit,” which will lead to staffing shortages and even program closures. Id. at

¶ 82–83. The plaintiffs support these concerns with declarations from school officials in

metropolitan and rural areas alike (see, e.g., Dkt. No. 1-3), along with evidence of the

millions of dollars in funding that are at stake in this dispute (Dkt. No. 1-2). The Rule itself

acknowledges that “program closures [] create instability and stress for children and

families. They disrupt children’s opportunities for learning, socialization, nutrition, and

continuity and routine.” 86 Fed. Reg. at 68057.

       It is difficult to imagine what could qualify as interests “in the health and well-

being—both physical and economic—of its residents in general” sufficient to provide Texas

with parens patriae standing if not the adverse impact on needy children across the state. See

Alfred L. Snapp, 458 U.S. at 607. Thus, the Court concludes it has a parens patriae interest in

protecting the welfare of its neediest children. As such, the Court need not and does not

address the issue of whether Texas has standing as parens patriae for Head Start staff.




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              iii.    Texas suffered injury in fact because it was denied its procedural
                      right to comment on the Rule pursuant to the APA.

       In addition, Texas suffers another form of injury by being denied its procedural right

to comment on the Rule as the APA requires. “A plaintiff can show a cognizable injury if it

has been deprived of ‘a procedural right to protect [its] concrete interests.’” EEOC, 933 F.3d

at 447 (quoting Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009)). “A violation of the

APA’s notice-and-comment requirements is one example of a deprivation of a procedural

right.” Id. In EEOC, the Fifth Circuit considered whether Texas had standing to challenge

an agency action for violating the APA’s notice-and-comment requirement. Id. The Fifth

Circuit assumed, for purposes of standing only, that Texas was correct on the merits of its

claim and found that Texas had standing because such a violation “undercut[] Texas’s

concrete interest, as a sovereign state, in maintaining compliance with its laws.” Id.

       The Rule here similarly undercuts Texas’s interest in ensuring compliance with its

laws—specifically, its laws prohibiting state entities from requiring vaccines. See supra

Section 3.C.i; see also Dkt. No. 1 at ¶¶ 75, 79 (noting that the “Governor of Texas has issued

an executive order prohibiting mandatory vaccination requirements by entities in Texas”

and that “Head Start Programs at Texas schools have district employees who monitor

compliance with Head Start program requirements”). Head Start programs within Texas

will be encouraged to deviate from Texas’s state law, affecting Texas’s ability to enforce its

own laws. See Dkt. No. 1 at ¶ 78 (noting that the Rule impedes Texas’s ability to “enforce a

legal code” (internal quotation marks omitted)). Only by preventing the Rule’s

enforcement—with the expectation that the Secretary may try again, this time allowing for

notice and comment before promulgation—will Texas’s procedural rights under the APA be




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protected. Thus, the denial of Texas’s opportunity to participate in the rulemaking process

through notice and comment presents another form of injury in fact.

          In sum, Texas satisfies the injury-in-fact requirement to establish standing.

Therefore, the Court denies the defendants’ motion to dismiss for lack of jurisdiction.9

4.        The Secretary issued the Rule without statutory authority.

          The plaintiffs argue that the Secretary lacks statutory authority to impose the Rule

(Dkt No. 54-1 at 18–38), while the plaintiffs allege that the Rule fits neatly within the Act’s

grant of authority (Dkt. No. 52 at 28–41). For the reasons explained below, the Court finds

that the Rule exceeds statutory authority and that no permissible construction of the statute

could justify it.

          A federal agency cannot act without Congressional authorization. La. Pub. Serv.

Comm’n v. FCC, 476 U.S. 355, 374 (1986). It cannot confer power upon itself. Id. “To

permit an agency to expand its power in the face of a congressional limitation on its

jurisdiction would be to grant to the agency power to override Congress.” Id. at 374–75.

Therefore, under the Administrative Procedure Act (APA), courts must “hold unlawful and

set aside agency action” that is “in excess of statutory jurisdiction, authority, or limitations,

or short of statutory right.” 5 U.S.C. § 706(2)(C).

          When reviewing an agency’s construction of a statute, courts must use the ordinary

tools of statutory interpretation. First, under the Chevron two-step framework, the Court


9
    Texas also asserts that it has suffered an injury in fact in the form of costs. Specifically, the “choice
    Texas faces—either spending, at a minimum, hundreds of thousands of dollars, to absorb school
    districts’ loss of federal funding or changing its laws—establishes that Texas has standing to bring
    these claims.” Dkt. No. 61 at 11. The defendants argue, however, that Texas itself is not a
    recipient of Head Start grants and “fails to show how it has suffered a concrete injury from the
    Rule because it has appropriated funds to an entity that also receives Head Start funds.” Dkt. No.
    52 at 25. Because Texas satisfies the injury-in-fact requirement on other grounds, the Court does
    not reach this argument.


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must consider “whether Congress has directly spoken to the precise question as issue.”

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 842 (1984). If Congress has

directly spoken on the precise issue, the Court “must give effect to the unambiguously

expressed intent of Congress.” Id. at 842–43. But “if the statute is silent or ambiguous with

respect to the specific issue, the question for the Court is whether the agency’s answer is

based on a permissible construction of the statute.” Id. at 843.10

           A.      The plain language of the statutory provisions on which the Secretary relies
                   does not authorize the vaccine mandate, and the Secretary’s proposed
                   construction is impermissible.

           The Court begins with the text of the Rule’s cited authority. HHS claims that

Section 9836a(a)(1)(C), (D), and (E) of the Head Start Act11 authorize the Rule. 86 Fed.

Reg. at 68,053 (citing 42 U.S.C. § 9836a(a)(1)(C)–(E)). The relevant language appears as

follows:




10
      The Court recognizes that the Chevron framework may have fallen out of favor. The Supreme
     Court recently decided two cases where Chevron could have applied, but it received no reference, let
     alone deference. See Becerra v. Empire Health Found., for Valley Hosp. Med. Ctr., 142 S. Ct. 2354, 2362
     (2022); Am. Hosp. Ass’n v. Becerra, 142 S. Ct. 1896, 1904 (2022). By contrast, in another recent case,
     the Supreme Court crystalized the long-developing major-questions doctrine. See West Virginia. v.
     EPA, 142 S. Ct. 2587, 2607–14 (2022). There, the majority again made no mention of Chevron.
     Here, the Court refrains from evaluating Chevron’s vitality and applies its framework out of an
     abundance of caution and in light of fairly recent Fifth Circuit precedent applying Chevron. See W
     & T Offshore, Inc. v. Bernhardt, 946 F.3d 227, 233–34 (5th Cir. 2019). If Chevron’s framework did not
     apply, however, the Court’s conclusions here would stand on even firmer ground. In any event,
     HHS’s interpretation of the Head Start Act is impermissible.
11
      Defendants cite 42 U.S.C. § 9836a(a)(1)(C)–(E), as amended by the Improving Head Start for
     School Readiness Act of 2007, Pub. L. No. 110–34, § 8, 121 Stat. 1385–96 (2007). For simplicity,
     the Court refers to the current, amended version of this statute as the “Head Start Act.”


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       § 9836a. Standards; monitoring of Head Start agencies and programs

               (A) (a) Standards

                      (A) (1) Content of standards

                              The Secretary shall modify, as necessary, program
                              performance standards by regulation applicable to Head
                              Start agencies and programs under this subchapter,
                              including—
                              ...

                              (C) administrative and financial management standards;

                              (D) standards relating to the condition and location of
                              facilities (including indoor air quality assessment
                              standards, where appropriate)
                              ...

                              (E) such other standards as the Secretary finds to be
                              appropriate.

       Applying Chevron’s first step, both the plaintiffs and the defendants argue that

Congress has spoken to the precise question at issue, but the Court disagrees. The statutory

subsections on which the defendants rely do not mention “vaccinations” or

“immunization,” which is especially telling. See 42 U.S.C. § 9836a(a)(1)(C)–(E). State laws

and regulations have long required—and explicitly stated—that at least children be

vaccinated against many communicable diseases. See, e.g., 25 Tex. Admin. Code

§ 97.63(2)(A) (requiring that “[c]hildren enrolled in child-care facilities, pre-kindergarten, or

early childhood programs” be immunized against a host of diseases). But that is not the

case here.




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           Congress could have spoken directly to the issue of vaccinations, including post-

COVID-19, but it did not and has not.12 Rather than amend the Head Start Act, Congress

only granted funds “for carrying out” the existing “Head Start Act.” See Consolidated

Appropriations Act, 2021, Pub. L. No. 116–260, 134 Stat. 1181, 1583–84 (2020);

Consolidated Appropriations Act, 2022, Pub. L. No. 117–103, 136 Stat. 49, 458–59 (2022).

In addition, the subsections on which the defendants rely do not mention broader health

and safety precautions that Head Start staff, volunteers, and contractors must take. See 42

U.S.C. § 9836a(a)(1)(C)–(E). Thus, contrary to the defendants’ assertion that the provisions

unambiguously provide statutory authority (Dkt. No. 52 at 28–31), subsections (a)(1)(C),

(D) and (E) are silent as to the “precise question at issue.” Chevron, 467 U.S. at 843.

           Even under subsection (A)—a provision that the Secretary did not cite as authority

for the Rule—Congress did not speak to the precise question at issue. Although this

subsection allows the Secretary to “modify performance standards” for “services required to

be provided, including health,” it concerns providing services to children, including health

services. 42 U.S.C. § 9836a(a)(1)(A). It does not condition employment on vaccination

requirements. Id.

           For their part, the plaintiffs argue that the silence of the provisions on the issue of

vaccinations unambiguously shows that the defendants do not have statutory authority;

therefore, the Court can end its analysis at Chevron’s first step. Dkt. No. 61 at 17–20. The

plaintiffs cite Texas v. United States, 497 F.3d 491, 502–03 (5th Cir. 2007), where the agency




12
      As counsel for the defendants conceded at the evidentiary hearing, Congress could not have
     foreseen the COVID-19 pandemic when it enacted the Head Start Act. Dkt. No. 41 at 57–58.
     That argument does not help the defendants, though. Rather, it underscores the need to reach
     Chevron’s second step.


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argued that the statute’s silence granted the agency implicit authority. Here, however, the

defendants do not raise a similar argument. Rather, they argue that more general

authorizations justify the vaccine mandate. See Dkt. No. 52 at 27–31. The plaintiffs also

cite American Bus Ass’n v. Slater, 231 F.3d 1, 6 (D.C. Cir. 2000), but the language at issue

there expressly and unambiguously limited the agency’s power, which is not the case here.

Instead, each side points to broad statutory language that they assert supports their

respective positions. See Dkt. Nos. 52 at 27–31; 54-1 at 18–21. The Court agrees with the

plaintiffs that the statutory language does not authorize the Rule but does so—out of an

abundance of caution—in Chevron’s second step.

       Under step two, the Court must decide whether “the agency’s [interpretation] is

based on a permissible construction of the statute.” 467 U.S. at 843. The plain language of

the defendants’ cited authority, the statutory context, and the existing regulations all

confirm that the Secretary’s interpretation of “performance standards” is not a permissible

construction. Thus, the defendants exceeded their statutory authority.

       As mentioned, the Secretary invokes subsections (a)(1)(C), (D), and (E) of the Head

Start Act to claim the broad authority for issuing this Rule. 86 Fed. Reg. at 68,052. Those

subsections authorize the Secretary to “modify, as necessary, program performance

standards by regulation . . . including—(C) administrative and financial management

standards; (D) standards relating to the condition and location of facilities (including indoor

air quality assessment standards, where appropriate) . . . [and] (E) such other standards as

the Secretary finds to be appropriate.” 42 U.S.C. § 9836a(a)(1)(C)–(E).

       At the outset, Congress appears to have limited the scope of the Secretary’s power.

As stated in the Act, the Secretary may only “modify” program performance standards. Id.




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This is not a broad grant of rulemaking power like the defendants argue. See Dkt. No. 52 at

28. Rather, by enabling the Secretary to only “modify” program performance standards,

Congress conferred modest authority. To “modify” means to “make somewhat different; to

make small changes to (something) by way of improvement, suitability, or effectiveness . . .

[t]o make more moderate or less sweeping; to reduce in degree or extent; to limit, qualify, or

moderate.” Modify, Black’s Law Dictionary (11th ed. 2019); see also MCI Telecomm. Corp. v.

Am. Tel. & Tel. Co., 512 U.S. 218, 225 (1994) (“[V]irtually every dictionary we are aware of

says that ‘to modify’ means to change moderately or in minor fashion.”).

       With the power to “modify,” the Secretary may only make moderate changes to

Head Start performance standards. Against this backdrop, the Court finds that enacting an

unprecedented vaccine mandate is not a moderate change to the specific standards the

defendants try to leverage. Furthermore, even assuming the “modify” language within the

Act does not cabin the Secretary’s power, the identified sources of authority cannot fairly be

construed so broadly as to include an unprecedented, nationwide requirement of a medical

procedure. See 42 U.S.C. § 9836a(a)(1)(C)–(E). The Court addresses each of the

defendants’ cited provisions in turn.

       First, the vaccine mandate is not authorized by subsection (C), which allows the

Secretary to modify “administrative and financial management standards.” See

id. § 9836a(a)(1)(C). “Financial management standards” plainly do not encompass a

vaccine mandate—they relate to how money is handled. The defendants previously

admitted that the mandates are not financial management standards (Dkt. No. 41 at 48),

and they do not argue otherwise here (see Dkt. No. 52 at 29).




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       Likewise, the Secretary may not impose these mandates by purporting to modify

administrative standards. “Administrative” is not defined by the statute but generally refers

to “of or relating to administration,” and “administration” is the “performance of executive

duties: management.” Administrative, Merriam-Webster’s Collegiate Dictionary (11th ed.

2014); Administration, Merriam-Webster’s Collegiate Dictionary (11th ed. 2014). By placing

the vaccine mandate in the “Human Resources Management” section of the regulations, the

defendants seem to interpret “administrative” standards to include requiring its employees

to undergo a mandatory offsite medical procedure or be fired if they are not granted an

exemption. See 86 Fed. Reg. at 68,060 (noting that the Rule adds four new provisions to

“part 1302, subpart I—Human Resources Management” in 45 C.F.R. §§ 1302.93–94). Such

a requirement, however, would not typically be characterized as relating to executive duties

or management. If it were, there would be no limit to the scope of administrative standards.

The defendants could then impose any requirement on Head Start staff, contractors, and

volunteers by modifying “administrative standards.”

       Rather, the scope of “administrative standards” is informed by the term to which it is

joined: “financial management standards.” 42 U.S.C. § 9836a(a)(1)(C). Congress grouped

the two together—not only in the same list, but in the same subsection. See id. Statutory

terms are often known by the “company they keep.” See Lagos v. United States, 138 S. Ct.

1684, 1688–89 (2018) (Breyer, J., writing for a unanimous Court) (citing Yates v. United

States, 574 U.S. 528, 542 (2015)) (finding “both the presence of company that suggests

limitation and the absence of company that suggests breadth”). The agency concedes that

the company that the term “administrative” keeps—“financial management”—obviously

cannot authorize the Rule. Dkt. No. 41 at 48. Read together, the term “financial



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management standards” “suggests limitation” on the scope of the term “administrative

standards.” The terms appear to contemplate management standards like those found in

45 C.F.R. § 1302.101(a)(1), which requires programs to use effective “fiscal[] and human

resource management structure[s].” Those standards are entirely different from a

mandatory vaccine requirement. Given that the vaccine mandate is aimed at children’s

health, it defies logic to assert that such standards would be characterized as administrative

or financial.

       Second, the plain language of subsection (D) suggests that the Secretary may not

impose the vaccine mandate. Subsection (D) enables the Secretary to modify “standards

relating to the condition and location of facilities (including indoor air quality assessment

standards, where appropriate).” 42 U.S.C. § 9836a(a)(1)(D). “Facility” is defined as “a

structure, such as a building or modular unit, appropriate for use in carrying out a Head

Start program and used primarily to provide Head Start services.” 45 C.F.R. § 1305.2

(2021). Subsection (D) specifies that the condition and location of facilities must “meet or

exceed State and local requirements concerning licensing for such facilities” and “be

accessible by State and local authorities for purposes of monitoring and ensuring

compliance.” 42 U.S.C. § 9836a(a)(1)(D)(i) & (ii). The “condition” of facilities—as the

references to “indoor air quality assessment standards,” licensing, and accessibility make

clear—thus relates to the physical conditions of buildings and equipment. The language

does not refer to adults’ employment or volunteer eligibility. Mandating facility standards is

a far cry from mandating a medical procedure for all staff under the threat of termination.

       The Rule contains a lone sentence aimed at explaining how the mask and vaccine

mandates are “standards relating to the condition . . . of facilities.” 42 U.S.C.




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§ 9836a(a)(1)(D). “The Secretary finds it necessary and appropriate to set health and safety

standards for the condition of Head Start facilities that ensure the reduction in transmission

of the SARS–CoV–2 and to avoid severe illness, hospitalization, and death among program

participants.” 86 Fed. Reg. at 68,054. But the Rule governs the conditions of people, not

buildings. See Dkt. No. 41 at 49 (defendants acknowledging that “facilities” refer to

buildings).

       The last subsection—“such other standards as the Secretary finds to be

appropriate”—cannot support the vaccine mandate, either. 42 U.S.C. § 9836a(a)(1)(E).

The defendants allege that this subsection provides the Secretary with broad authority (Dkt.

No. 28), but they overlook how that authority has been cabined. Though seemingly

expansive, “such other” standards fall under the banner of “performance standards,” so it

must be defined in relation to subsections (A)–(D). 42 U.S.C. § 9836a(a)(1) (stating that

“[t]he Secretary shall modify, as necessary program performance standards”). Generally,

“performance standards” are criteria that measure the quality of Head Start programs. See

Standard, Black’s Law Dictionary (11th ed. 2019) (“A criterion for measuring acceptability,

quality, or accuracy”). Here, “quality” corresponds to Head Start programs’ ability to

achieve their purpose. Under the Act, that purpose is to “promote the school readiness of

low-income children by enhancing their cognitive, social, and emotional development”

through providing a host of services—including health services to the children and their

families. 42 U.S.C. § 9831(2). Therefore, the Secretary may modify “such other”

performance standards, which are criteria that measure Head Start programs’ ability to

achieve their purpose.




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       The vaccine mandate, however, does not measure a staff’s, volunteers’, or

contractors’ ability to enhance children’s development; it determines whether they will be

hired, kept on, or fired in the first place. The mandate does not operate as a performance

standard and provide a method for measuring quality. Instead, the mandate is a

prerequisite to performance. As such, the defendants’ construction of their cited authorities

is impermissible for this fundamental reason.

       Furthermore, if “such other performance standards” could include mandates such as

the vaccine requirement at issue here, there would be no genuine limiting principle to the

Secretary’s authority to regulate in the name of “health and safety standards.” In Alabama

Ass’n of Realtors v. Department of Health and Human Services, the Supreme Court invalidated a

federal agency’s attempt to pass COVID-19 restrictions, and it did so, in part, due to the

lack of any limit to the asserted authority. 141 S. Ct. 2485, 2489 (2021). There, the

Supreme Court held that it was “virtually certain” that the CDC did not have authority to

issue an eviction moratorium based on the Surgeon General’s statutory authority to make

and enforce regulations to prevent the spread of communicable diseases. Id. at 2486. The

statute at issue had a catch-all provision, similar to the one in this case—“other measures, as

in his judgment may be necessary.” Id. at 2487 (quoting 42 U.S.C. § 264). But the Court

explained that “the sheer scope of the CDC’s claimed authority . . . would counsel against”

the CDC’s interpretation, because it was “hard to see what measures [it] would place

outside the CDC’s reach.” Id. at 2489.

       Although, this case, of course, deals with different statutory language, the agency’s

similar claim to expansive authority based on generalized and catch-all language

undermines its position. See Dkt. No. 52 at 28–29. Here, the defendants argue that the



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Secretary can leverage “such other standards as the Secretary finds to be appropriate” to

pass any health and safety regulation that furthers the general purpose of the statute—

keeping Head Start programs open to promote the school readiness of children. Id. Even

this reading, however, appears to allow the Secretary to pass any health-related mandate

that would reduce staff and volunteer absenteeism, not require Head Start staff to undergo a

medical procedure or face termination. Even if the plain language of “program performance

standards” authorized the Rule—which it does not—adopting the remote and manipulable

reading urged by the Secretary counsels against the defendants’ interpretation. See Ala. Ass’n

of Realtors, 141 S. Ct. at 2489.

       B.      Other statutory provisions and existing regulations confirm that the
               vaccine mandate is unprecedented and unauthorized.

       Attempting to show that the Secretary had statutory authority to issue the mandate,

the defendants point to various other statutory provisions and administrative regulations

involving health and safety. Dkt. No. 52 at 31–37. Thus, citing Biden v. Missouri, the

defendants claim that HHS’s history of health-and-safety regulations supports its reading of

the statute. Id. But unlike Biden v. Missouri, HHS does not have a “longstanding practice”

of implementing its statutory authority under the Head Start Act in a way consistent with

the vaccine mandate here. See 142 S. Ct. 647, 653–54 (2022). And the Secretary expressly

disavowed reliance on the one statutory provision addressing health services. Id. at 40–41.

       Specifically, the defendants point to the Secretary’s authority to issue “deficiencies.”

Dkt. No. 52 at 30–31. Congress has authorized the Secretary to issue “deficiencies” when

programs fail to follow “performance standards.” 42 U.S.C. § 9836a(e)(1)(A). The Act

defines a “deficiency” as “a systematic or substantial material failure of an agency in an area

of performance that the Secretary determines involves—(i) a threat to the health, safety, or


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civil rights of children or staff; . . . [or] (iii) a failure to comply with standards related to

early childhood development and health services . . . .” Id. § 9832(2)(A). The defendants

argue that the Secretary can establish “standards related to early childhood development

and health services” and “the health . . . of children or staff” because he can issue

deficiencies for failures to follow such standards, urging the Court to work backwards from

the definition of “deficiency.” Dkt. No. 52 at 30 (quoting § 9832(2)(A) and citing

§ 9836a(e)(1)). The defendants also point previous and current standards and regulations,

along with other statutory provisions. Dkt. No. 42 at 32–36. Some center on Head Start

staff, contractors, and volunteers and deal with subjects such as training, professional

development, and health screenings. Id. (citing 42 U.S.C. §§ 9832(21)(G)(i),

9837(C)(1)(E)(iii), 9843(b)(2)(D), (d)(1)(G); 45 C.F.R. §§ 1302.47(b)(4)(i)(A), 1302.93(a); 61

Fed. Reg. 57,186 (Nov. 5, 1996); 81 Fed. Reg. 61,294 (Sept. 6, 2016)). Others focus on

participants and cover areas such as health screenings, medical records, and program

assistance in arranging and facilitating health services. Id. (citing 42 U.S.C. §§ 9835(m)(2),

9843(a)(3)(B)(xii)(VI); 45 C.F.R. §§ 1306.35(b)(2)(ix), 1302.42(b)(1)(i)–(ii)), (e)(2), 1304.3-

3(b)(4)–(6), (8) (1975), 1304.3-4(2) (1975); 1304.22(b), (e)(7) (2015), 1308 App’x (2015)).

But the defendants’ arguments fall short.

       First, the Court does not doubt that the Secretary can establish certain performance

standards related to “health services.” Subsection (A) of program performance standards

specifically allows the Secretary to modify “performance standards with respect to services

required to be provided, including health.” 42 U.S.C. § 9836a(a)(1)(A). But the Secretary

did not rely on this subsection as his statutory authority for the vaccine mandate. See 86

Fed. Reg. 68,052. Subsection (A) does not appear in the Rule even once. Id. Instead, he



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relies solely and specifically on subsections (C) (“administrative and financial”), (D)

(“facilities”), and (E) (“other”) of “program performance standards.” 86 Fed. Reg. at

68,052–53 (citing 42 U.S.C. § 9836a(a)(1)(C)–(E)). The defendants previously conceded

that the vaccine mandate is not a health service (Dkt. No. 41 at 40) and do not argue

otherwise now (Dkt. No. 52 at 28–31).

       In any event, Head Start is not providing “health services” to children nor

establishing related “performance standards” by requiring that employees, volunteers, and

contractors get vaccinated. Current performance standards related to health services include

examinations and screenings for children, for instance. See 45 C.F.R. § 1302.42 (2021).

These standards even include assisting children in getting up to date on immunizations. Id.

§ 1302.42(b)(1).

       But these existing regulations differ from the vaccine requirement in several critical

ways. Initially, the Court notes that all of the regulations that the defendants cite regarding

immunization opportunities only require that they be made available to children; they say

nothing regarding staff or volunteers. See, e.g., id. Moreover, since the first of these

regulations were promulgated, they have never mandated a medical procedure; to the

contrary, they have always been conditioned upon parental consent. See Program

Performance Standards for Operation of Head Start Programs by Grantees and Delegate

Agencies, 40 Fed. Reg. 27,562, 27,565 (June 30, 1975) (codified in 45 C.F.R. § 1304.3-3(a))

(requiring “advance parent or guardian authorization” for all screenings and examinations);

45 C.F.R. § 1302.41 (2021) (requiring Head Start programs to “collaborate with parents as

partners in the health and well-being of their children” and “[a]t a minimum” to “[o]btain

advance authorization from the parent or other person with legal authority for all health and



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developmental procedures administered through the program”); 45 C.F.R. § 1302.42(b)(ii)

(2021) (authorizing Head Start staff to assist parents with scheduling immunizations but

saying nothing about enforced masking or vaccinations). Additionally, as the defendants

concede, the vaccine mandate is the first time in Head Start’s history that such a procedure

is mandated as a prerequisite to employment with Head Start programs. Dkt. No. 41 at 46–

47. As such, staff, contractors, and volunteers have never faced the requirement of a

vaccine under the threat of termination. And the cited regulations applicable to staff focus

primarily on training and professional development or initial and periodic health

examinations and screenings as recommended by the staff’s health care providers. 45

C.F.R. §§ 1302.93(a); 1302.47(b)(4)(i)(A). Thus, these regulations are materially different

from one requiring that staff undergo an invasive, irreversible medical procedure as a

condition to employment or participation. All of these distinctions highlight why the

vaccine mandate is not a “performance standard[]” in the first place.14

           Second, that the “deficiencies” for which the Secretary can impose sanctions

contemplate threats to “health and safety” does not widen the scope of what “performance

standards” comprises. Based on the listed “performance standards” in Section 9836a(a)(1),

the Secretary has limited power to provide for the health and safety of Head Start programs.

That was never in doubt. But again, that limited power does not authorize the vaccine

mandate. For instance, Congress expressly granted the Secretary authority to regulate the




14
      See Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., Occupational Safety & Health Admin., 142 S. Ct. 661, 666
     (2022) (“It is telling that OSHA, in its half century of existence, has never before adopted a broad
     public health regulation of this kind—addressing a threat that is untethered, in any causal sense,
     from the workplace. This ‘lack of historical precedent,’ coupled with the breadth of authority that
     the Secretary now claims, is a ‘telling indication’ that the mandate extends beyond the agency’s
     legitimate reach.”).


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conditions of “facilities.” 42 U.S.C. § 9836a(a)(1)(D). And here, the Secretary’s own

explanation of his statutory authority focused on “facilities.” 86 Fed. Reg. at 68,054.

Facility conditions, such as poor “ventilation” systems, can directly impact the health and

safety of children and staff. Id. at 68,054, 68,066. Thus, it is no surprise that the Secretary

could issue deficiencies based on “threat[s] [to] the health or safety” of staff and children

resulting from facility conditions. 42 U.S.C. § 9836a(a)(1)(D), (e)(1)(B)(i). But, as

explained above, the Act says nothing about conditioning participation and employment

eligibility on health and safety requirements as vast as the vaccine mandate here.

       Furthermore, that Congress mentions standards related to “health” services in

subsection (A) cuts against the defendants’ claim that the catch-all provision in subsection

(E) includes any health-related standards. Reading “other standards” as broadly as the

defendants suggest would render subsection (A) surplusage as it pertains to “health” related

standards. The catch-all provision cannot be read so broadly as to eclipse the meaning of

subsections (A)–(D). The Court “must give effect to every word that Congress used in the

statute.” Lowe v. SEC, 472 U.S. 181, 207 n.53 (1985).

       Third, unlike Biden, HHS does not have a “longstanding practice . . . [of]

implementing the relevant statutory authorities” here similar to the vaccine mandate. See

142 S. Ct. at 652. In Biden, after concluding that the CMS mandate fit within the language

of the statute, the Supreme Court explained that the Secretary’s history of relying on the

same statutory language in imposing other conditions on healthcare facilities and healthcare

workers supported its finding. Id. at 652–53. Citing examples of such conditions, the Court

stated that “the Secretary has always justified these sorts of requirements by citing his

authorities to protect patient health and safety.” Id. at 653. Here, however, although the



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defendants cite several standards and regulations relating to health generally, the defendants

do not identify which, if any, rely specifically on the same statutory language—Section

1986a. See Dkt. No. 52 at 32–36. Instead, the defendants broadly state that HHS has taken

similar measures in the past and, over the years, has implemented regulations pertaining to

program participants and staff. Id. at 32–35. As noted above, the Court does not doubt that

the Secretary can establish certain performance standards related to “health services” or that

he has done so before. But unlike Biden, the defendants here fail to point to any specific

conditions in which the Secretary relied solely and specifically on same statutory authority

as the Rule. See id. at 32–36. Thus, Biden does not support the defendants’ argument. And

the defendants’ admission that the vaccine mandate marks the first time that Head Start has

ever mandated a health procedure as a precondition to new or ongoing employment only

cuts against their argument that a longstanding practice exists here. See Dkt. No. 41 at 46–

47.

       Fourth, the other statutory provisions that the defendants cite—none of which the

Secretary cited in promulgating the Rule—only demonstrate that the Rule is unprecedented

and unauthorized. Several of the provisions that the plaintiffs mention focus on the training

and professional development of Head Start staff. Id. at 32 (citing 42 U.S.C.

§§ 9832(21)(G)(i); 9843(b)(2)(D), (d)(1)(G)). Others discuss providing easier access for

students to attend Head Start and obtain services, such as allowing families of homeless

children to apply to, enroll in, and attend Head Start so long as immunization and other

records are obtained within a reasonable time frame or removing barriers so that Head Start

participants in rural communities can obtain health screenings. Id. (citing 42 U.S.C.

§§ 9835(m)(2); 9843(a)(3)(B)(xii)(VI)). And one provision explains that the Secretary must



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consider the effects of any revisions on the quality, scope, or types of health services

required to be provided. Id. (citing 42 U.S.C. § 9836a(a)(2)(C)(ii)). Nevertheless, none of

these provisions discuss vaccination mandates, much less grant authority to condition

employment on a vaccine under the threat of termination. In any event, the Secretary did

not rely on any of these in promulgating the Rule. See 86 Fed. Reg. at 68,052. Thus,

contrary to the defendants’ argument, these provisions only lend additional support to the

Court’s conclusion that the Rule is unprecedented and unauthorized.

       C.      Vaccination requirements for Head Start staff and volunteers involve state-
               government—not federal agency—matters.

       Moreover, to the extent the regulations governing Head Start staff and volunteers

shed light on the scope of the Secretary’s authority under the statute, they do not authorize

this Rule’s mandate. Rather, they imply that conducting an initial health examination and

periodically screening or testing workers may be permissible when done in “accordance

with state, tribal, or local requirements.” See 45 C.F.R. §§ 1302.93–94 (2021) (requiring staff

and volunteers to test for communicable diseases “in accordance with state, tribal[,] or

local” laws and requirements).15 These provisions suggest two ideas, neither of which

support the defendants’ arguments.

       First, testing employees for communicable diseases may, in some circumstances, be

permissible. But the Rule does not require merely periodic testing. It mandates a vaccine,




15
  The defendants also rely on regulations that require staff to clean play areas and wash their hands
after restroom use or changing diapers. Dkt. No. 52 at 55 (citing 45 C.F.R. § 1302.47(b)(6)(i) (2021)
(hand hygiene); 45 C.F.R. § 1302.47(b)(2)(i) (cleaning and disinfecting play areas and equipment)).
Such basic hygiene practices fall well short of demonstrating that the Head Start Act authorizes
mandatory vaccination for staff under a threat of termination. And the staff-training provisions that
the defendants cite also refer to state and local requirements, indicating that federal rules do not
solely govern. Dkt. No. 52 at 55 (citing 45 C.F.R. § 1302.47(b)(4)).


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which requires an invasive medical procedure. Nothing in the regulations contemplate that

the federal government can require staff, volunteers, and contractors to be immunized.

           Second, testing only occurs when conducted consistent with “state, tribal, and local”

laws and requirements. Id. This confirms what the Supreme Court has recognized for over

a century: public health and safety regulation belongs, in the first instance, to the States.

Jacobson v. Massachusetts, 197 U.S. 11, 25, 38 (1905) (recognizing that the “safety and the

health of the people of” states are for States to “guard and protect” through their general

“police power[s]”).

           In this respect, the defendants demonstrate the shortcomings of their arguments.

They repeatedly affirm the notion that vaccine requirements “have had particular

prominence in the education context.” Dkt. No. 52 at 40 (citing Klaassen v. Trs. Of Ind.

Univ., 7 F.4th 592, 593 (7th Cir. 2021) (upholding a state university’s vaccination

requirement)). But for “centuries,” states—not federal agencies—have compelled vaccine

requirements in the education context. See, e.g., 25 Tex. Admin. Code § 97.63(2)(A)

(requiring that “[c]hildren enrolled in child-care facilities, pre-kindergarten, or early

childhood programs” be immunized against a host of diseases); Ark. Code Ann. § 6-18-702

(West) (outlining immunization requirements for school children). 16




16
      The defendants also cite 42 U.S.C. § 9837(c)(1)(E)(iii), which requires that Head Start programs
     comply with “applicable State, tribal, and local laws,” and allege that all Head Start personnel
     must therefore meet the child-care standards of the states in which they operate. The defendants
     then argue that Texas’s Minimum Standards for Child-Care Centers require child-care programs to
     develop a policy mandating staff vaccination, meaning that all Head Start personnel should be
     vaccinated. Dkt. No. 52 at 33 (citing 26 Tex. Admin. Code § 746.3611). First, this argument also
     evidences that state and local requirements govern. Second, contrary to the defendants’ assertion,
     the language states that a child-care program must “[s]pecify any vaccines that [they] have
     determined an employee must have for vaccine-preventable diseases,” indicating that the program
     has the authority to make that determination. Admin. § 746.3611(1).


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           The vaccine mandate at issue here comes from a federal agency, not a state.

Congress must use “exceedingly clear language if it wishes to significantly alter the balance

between federal and state power.” U.S. Forest Serv. V. Cowpasture River Pres. Ass’n, 140 S. Ct.

1837, 1849–50 (2020) (citing Gregory v. Ashcroft, 501 U.S. 452, 460 (1991)). Congress’s

failure to use “exceedingly clear language” in any part of the statute further supports what

the plain language of “performance standards” indicates: the defendants do not have

authority to issue the vaccine mandate.17

           D.      The Supreme Court addressed a different statute in Biden v. Missouri, and
                   nothing about its analysis requires a different result here.

            The defendants cite Biden v. Missouri’s allowance of the Medicare and Medicaid

vaccine mandate as support for their assertion that HHS likewise had statutory authority for

the Head Start mandate. Dkt. No. 52 at 27–40. The Court recognizes, of course, that the

Supreme Court held in Biden v. Missouri that the Secretary did not exceed his statutory

authority in conditioning funding on healthcare workers receiving a COVID-19 vaccine.



17
      This conclusion is especially apparent if the “major questions doctrine” applied. The Supreme
     Court recently reaffirmed that it “expect[s] Congress to speak clearly when authorizing an agency
     to exercise powers of ‘vast economic and political significance.’” Ala. Ass’n of Realtors, 141 S. Ct. at
     2489 (quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014)). Several factors here favor
     applying this additional level of scrutiny, such as the Office of Management and Budget’s
     declaration that the Rule is a “major rule” because it will “have an annual effect on the economy of
     $100 billion or more” (86 Fed. Reg. at 68,063), the $10 billion in grants to Head Start programs”
     that ACF awards (id. at 68,100), and the 273,000 staff and a share of the one million volunteers
     who will be affected (id. at 68,068–69). But at least one circuit court has recently held that the
     doctrine did not apply to rules with much larger economic effects and arguably equivalent political
     significance because the rules at issue were not “an enormous and transformative expansion in [the
     agencies’] regulatory authority.” Florida v. Dep’t of Health & Hum. Servs., 19 F.4th 1271, 1287 (11th
     Cir. 2021) (order denying injunction pending appeal of the CMS mandate) (quoting Utility Air, 573
     U.S. at 324). Nevertheless, here, the Court need not evaluate whether the major question doctrine
     applies. Under traditional principles of statutory interpretation, and even without the major-
     questions doctrine’s more exacting standard, the defendants’ construction is impermissible. If the
     doctrine did apply, however, the plaintiffs would prevail even more easily because Congress has
     not spoken clearly in authorizing HHS to impose the expansive and unprecedented mandates on
     Head Start programs.


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142 S. Ct. at 653. And the Court understands the defendants’ attempt to leverage an

authorized vaccine mandate, which stems from the same agency, to justify the mandate

here. See Dkt. No. 52 at 27–40. The Court, however, is reminded of Justice Holmes’s

famous admonition: “We must think things not words, or at least we must constantly

translate our words into the facts for which they stand, if we are to keep to the real and the

true.” Oliver W. Holmes, Law in Science and Science in Law, 12 Harv. L. Rev. 443, 460

(1889). Here, Biden v. Missouri’s holding does not change the fact that the Head Start

mandate relies on materially different statutory language for authorization, does not involve

a tradition of similar practices, and involves a materially different statutory context. For

these reasons, Biden v. Missouri does not compel the Court to alter its prior analysis and

conclude that the Head Start mandate is authorized.

          In Biden, the Supreme Court held that the Secretary had not exceeded his statutory

authority in issuing an interim final rule requiring that employees in facilities participating

in Medicare and Medicaid be vaccinated. 142 S. Ct. at 653; see also 86 Fed. Reg. 61,555

(2021). The Supreme Court relied first on the language of the statute itself, concluding that

the CMS mandate fit neatly within it. Id. at 652. The statute expressly grants the Secretary

with the power to impose conditions “necessary in the interest of the health and safety of

individuals who are furnished services.” Id. (quoting 42 U.S.C. § 1395x(e)(9)). Similarly,

the CMS mandate states that the Secretary “concluded that a vaccine mandate is ‘necessary

to promote and protect patient health and safety’ in the face of the ongoing pandemic.” Id.

(quoting 86 Fed. Reg. at 61,613). The Supreme Court went on to discuss the longstanding

practices of CMS that were similar to the vaccine mandate, noting that “healthcare facilities

that wish to participate in Medicare and Medicaid have always been obligated to satisfy a



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host of conditions that address the safe and effective provision of healthcare” and that the

Secretary “routinely imposes conditions of participation that relate to the qualifications and

duties of healthcare workers themselves.” Id. at 652–53. And third, the Supreme Court

relied on the healthcare context, noting that a vaccine mandate is consistent with the

medical profession and its purpose of restoring patients back to health. Id. at 652. Here, in

contrast, none of those rationales support the Head Start mandate.

          First, the healthcare-worker mandate and the Head Start mandate rest on

materially different statutory language. The CMS mandate stems from a different statute

than the one that the Secretary claims gave it authority here, the Head Start Act. Id. at 650;

compare 42 U.S.C. § 1395x(e)(9), with 42 U.S.C. § 9836a(a)(1)(C)–(E). Specifically, the

authorizing text for the CMS mandate provides that the Secretary may promulgate such

“requirements as [he] finds necessary in the interest of the health and safety.” 42 U.S.C.

§ 1395x(e)(9). Here, however, the Secretary has expressly disclaimed any reliance on the

Head Start Act’s subsection (A), which allows the Secretary to “modify performance

standards” for “services required to be provided, including health.” Dkt. No. 41 at 40–41;

see also 42 U.S.C. § 9836a(a)(1)(A). Thus, contrary to the Secretary’s reliance on “health

and safety” language in promulgating the CMS mandate, the Secretary argues that the Rule

here qualifies as an administrative standard, a standard relating to the condition of facilities,

or “such other” similar standards. As detailed above, however, this language cannot

authorize Head Start’s vaccine mandate. See supra Section 4.A. Thus, Biden does not

foreclose the Court’s interpretation of the statute.

       Moreover, the CMS mandate fits naturally into the statute’s health-and-safety

language, but the Rule here does not. See 42 CFR §§ 416.25–416.54. As the Supreme



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Court explained, the Secretary relied on the authority conferred upon him by 42 U.S.C.

§ 1395x(e)(9) and other similar provisions. Biden, 142 S. Ct. at 650, 652 (comparing Section

1395x(e)(9) with 86 Fed. Reg. at 61,613). Thus, in that case, the mandate “fit[] neatly

within the language of the statute.” Biden, 142 S. Ct. at 652. Here, however, the Rule does

not directly fit within the non-health-related language of the Head Start Act on which the

Secretary relied. As previously discussed, those subsections cannot be reasonably read to

provide the Secretary with authority, much less explicitly spell out, that the Secretary could

promulgate a vaccine mandate.

       Second, unlike Biden, there is no “longstanding practice of Health and Human

Services in implementing the relevant statutory authorities.” Id. at 652. As detailed above,

the defendants attempt to establish that various Head Start regulations support the vaccine

mandate, but the examples miss the mark. See supra Section 4.B. Understandably, in the

context of hospitals and the provision of healthcare, HHS has implemented health

regulations and conditions on participation showing that the Secretary has exercised broad

authority in administering Medicare and Medicaid. Biden, 142 S. Ct. at 652–53. The same

is not true in the realm of pre-K education for low-income children. See supra Section 4.B.

       Third, the analysis in Biden springs from a materially different context than pre-K

education. As the Supreme Court noted, “ensuring that providers take steps to avoid

transmitting a dangerous virus to their patients is consistent with the fundamental principle

of the medical profession: first, do no harm. It would be the very opposite of efficient and

effective administration for a facility that is supposed to make people well to make them sick

with COVID-19.” Biden, 142 S. Ct. at 652. The CMS mandate governs hospitals, doctors,

and other healthcare workers. See id. at 652–53. These are individuals directly concerned



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with providing healthcare to vulnerable patients in the medical field. Id. Thus, the Supreme

Court explained that the Secretary’s “response [to COVID-19 by implementing the

mandate] is not a surprising one” because “[v]accination requirements are a common

feature of the provision of healthcare in America.” Id. At 653. Here, in contrast,

vaccination requirements are not a common feature of the provision of education, as the

defendants recognize. See Dkt. No. 41 at 46–47 (defendants acknowledging that this is the

first time that Head Start has ever mandated a medical procedure as a precondition to new

or ongoing employment). Head Start’s Rule applies to employees, volunteers, and

contractors—educators—whose main purpose is to promote the school-readiness of needy

children. See 42 U.S.C. § 9831. Thus, the broader context—the provision healthcare in

hospitals—lent great support for the CMS mandate, but the broader context weighs against

the defendants here.

         In sum, the statutory language, related agency practices, and context all supported

the Secretary’s position in Biden that the CMS mandate did not lack statutory authorization.

But because the same is not true here, and this Court is faced with materially different

language, practices, and context, the Court reaches the opposite conclusion.

5.     The Rule does not follow proper rulemaking procedures.

       Even if the Head Start Act allowed the Secretary to impose the vaccine mandate

under the guise of modifying “performance standards”—which it does not—the Rule cannot

stand for another fundamental reason: it violates proper rulemaking procedures. Under the

APA, the Court shall “hold unlawful and set aside agency action” that is “not in accordance

with law,” “without observance of procedure required by law,” or “in excess of statutory . . .

limitations.” 5 U.S.C. § 706(2)(A), (C)–(D). Because the Secretary issued the Rule without




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notice and comment in violation of the APA—and without consultation with certain

stakeholders as required by the Head Start Act—the Rule is unlawful.

       A.     The Secretary did not have good cause to issue the Rule without notice and
              comment.

       Under the APA, an agency typically must first publish notice of a proposed rule and

give the public opportunity to comment before adopting a final rule. 5 U.S.C. § 553(b), (c).

The agency also must publish such rules at least thirty days before its effective date.

Id. § 553(d). These procedures are “designed to assure due deliberation.” Smiley v. Citibank

(S.D.), N.A., 517 U.S. 735, 741 (1996) (citing 5 U.S.C. § 553 and Thompson v. Clark, 741 F.2d

401, 409 (D.C. Cir. 1984)). But, on rare occasions, “both of these requirements may be

bypassed if ‘good cause’ exists.” United States v. Johnson, 632 F.3d 912, 927 (5th Cir. 2011)

(quoting 5 U.S.C. § 553(b)(3)(B)).

       Notice-and-comment procedures do not apply “when the agency for good cause”

finds those procedures are “impracticable, unnecessary, or contrary to the public interest.”

5 U.S.C. § 553(b)(3)(B). Typically, the government’s “burden to show that good cause

exists is a heavy one.” United States v. Cain, 583 F.3d 408, 420 (6th Cir. 2009). Indeed, the

exception is to be “narrowly construed and only reluctantly countenanced.” N.J., Dep’t of

Env’t Prot. v. EPA, 626 F.2d 1038, 1045 (D.C. Cir. 1980). Nor can it provide agencies with

an “‘escape clause’ from the requirements Congress prescribed.” Johnson, 632 F.3d at 928

(quoting United States v. Garner, 767 F.2d 104, 120 (5th Cir. 1985)). “Its use ‘should be

limited to emergency situations.’” Util. Solid Waste Activities Grp. v. EPA, 236 F.3d 749, 754

(D.C. Cir. 2001) (quoting Am. Fed’n of Gov’t Emps. v. Block, 655 F.2d 1153, 1156 (D.C. Cir.

1981)). To determine whether “good cause” exists, the Court must “rely only on the ‘basis




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articulated by the agency itself’ at the time of the rulemaking.” Johnson, 632 F.3d at 928

(quoting Garner, 767 F.2d at 116–17).

       The defendants argue that “good cause” existed to skip notice and comment because

it would be “impracticable and contrary to the public interest.” 86 Fed. Reg. at 68,059. The

Secretary cites several concerning factors, including “failure to achieve sufficiently high

levels of vaccination based on voluntary efforts and patchwork requirements, potential harm

to children from unvaccinated staff, continuing strain on the health care system, and known

efficacy and safety of available vaccines.” Id. Specifically, delaying the vaccine mandate

“would endanger the health and safety of staff, children[,] and families” as programs

prepared to return to fully in-person services. Id. The Court does not question the

authenticity of these concerns. The only issue for the Court is whether HHS can show that

notice and comment was “impracticable, unnecessary, or contrary to the public interest.”

5 U.S.C. § 553(b)(3)(B). It cannot.

       First, the Secretary gave staff and volunteers 62 days to get vaccinated after the

Rule’s effective date, requiring compliance by January 31, 2022. With that amount of time,

however, the Court does not see how providing notice and comment was “impracticable.”

Notice and comment would not have forced HHS to push back the vaccination-compliance

date. Even if public participation did not affect the substance of the final rule, HHS could

have received comment and not sacrificed even one day in addressing the concerns it

outlines.

       The Court recognizes that “reasoned policy determination[s]” take time and do not

necessarily “undermine the state of emergency.” See Florida, 19 F.4th 1271 (holding that the

district court did not abuse its discretion in finding that the Secretary of HHS set forth a



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sufficient basis of good cause for waiving notice and comment). But the Head Start Rule,

substantially shorter and less complex, was issued 25 days after the OSHA vaccine-or-test

rule and the CMS vaccine mandate were issued. See COVID–19 Vaccination and Testing;

Emergency Temporary Standard, 86 Fed. Reg. 61,402 (Nov. 5, 2021) (154-page OSHA ETS

mandate); Medicare and Medicaid Programs; Omnibus COVID–19 Health Care Staff

Vaccination, 86 Fed. Reg. 61,555 (Nov. 5, 2021) (73-page CMS rule with an analysis of over

200 cited sources). The Court does not expect agencies to issue “emergency” rules in mere

days, or even a few weeks, after the President announces his intent to impose new rules.

But this 82-day timeline combined with the 62-day vaccination-compliance period strongly

disfavors finding this degree of federal involvement in pre-K programs to be an emergency

that rendered notice and comment “impracticable.”

       And the defendants’ data arguably casts further doubt on the emergency nature of

their concerns in this specific context. The Secretary found that “uptake of vaccination

among Head Start staff has not been as robust as hoped for.” 86 Fed. Reg. at 68,054. In the

defendants’ cited survey, however, vaccination rates among childcare providers

“significantly exceeded [rates among] the general population.” Id. at 68,078. In fact, the

defendants themselves estimate that Head Start staff are 12% more likely to be vaccinated.

Id. at 68,069.

       In light of the vaccine-compliance period, the defendants’ lengthy delay, and the

relatively high vaccination rates of their instructors, the Court finds that notice and

comment was not impracticable. See Mid-Tex Elec. Coop., Inc. v. FERC, 822 F.2d 1123, 1132

(D.C. Cir. 1987) (recognizing that “the ‘good cause’ inquiry is inevitably fact- or context-

dependent”).



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       Rather than working against the public interest, notice and comment would have

served the public interest by ensuring “due deliberation” with the important stakeholders.

Smiley, 517 U.S. at 741 (citing 5 U.S.C. § 553 and Thompson, 741 F.2d at 409). “The public

interest prong of the good cause exception is met only in the rare circumstance when

ordinary procedures—generally presumed to serve the public interest—would in fact harm

that interest.” Mack Trucks, Inc. v. EPA, 682 F.3d 87, 95 (D.C. Cir. 2012). Notice and

comment would have involved important stakeholders, many of whom were excluded from

the rulemaking process in violation of the Head Start Act itself. 42 U.S.C. § 9836a(a)(2)(A);

see infra Section 5.B (outlining the Secretary’s failure to consult with experts in the fields of

early childhood education, family services, administration and financial management, and

persons with experience operating Head Start programs). The Secretary’s decision silenced

Head Start teachers, contractors, and volunteers—the very people who would face the

requirement of an invasive medical procedure under the threat of termination.

       Furthermore, public feedback seems particularly important here given the diversity of

local health conditions across the country and the wide reach of the mandate. 86 Fed. Reg.

at 68,058; see American Federation, 655 F.2d at 1156 (“The more expansive the regulatory

reach . . . [,] the greater the necessity for public comment.”). Rather than guessing that it

would be burdensome for large agencies to administer different policies for areas with

disparate COVID-19 transmission rates, HHS could have solicited their input through

notice and comment.

       To be sure, HHS accepted comments until December 30, 2021. 86 Fed. Reg. 68,052.

But “accepting post-promulgation comments” after the Rule’s effective date does not

“excuse compliance with APA procedures.” Johnson, 632 F.3d at 929. This, too, is not an



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escape hatch. “Permitting the submission of views after the effective date is no substitute for

the right of interested persons to make their views known to the agency in time to influence

the rule making process in a meaningful way.” U.S. Steel Corp. v. EPA, 595 F.2d 207, 214

(5th Cir. 1979) (quoting City of New York v. Diamond, 379 F. Supp. 503, 517 (S.D.N.Y.

1974)). To allow otherwise would make the provisions of Section 553 “virtually

unenforceable.” Id. at 215.

       And although the Supreme Court found that the Secretary had good cause to forego

notice and comment in Biden, several salient differences exist here. See 142 S. Ct. at 654.

For instance, here, the Rule was issued nearly 25 days later than the CMS mandate, was

nearly 25 pages shorter, and was less complex. See 86 Fed. Reg. 68,052. In addition, the

CMS mandate dealt with healthcare providers and patients and sought to get ahead of the

spread of illness inside of medical facilities themselves. See Biden, 142 S. Ct. at 651–52.

That connection is direct and clear, so it is understandable that the delay that notice and

comment would have caused could be viewed as “impracticable” or “contrary to public

interest” in that situation. See 5 U.S.C. § 553(b)(3)(B). But here, the Rule applies a vaccine

mandate to teachers, volunteers, and other staff members working in an educational

environment. 42 U.S.C. § 9831. That connection is far more attenuated, which only

emphasizes the need for the notice-and-comment period that existed here.

       Moreover, the defendants did not appeal the Court’s preliminary-injunction order,

choosing instead to allow the deadline to pass and the preliminary injunction to remain in

place. See Dkt. No. 45. The defendants’ lack of action cuts against any argument that the

defendants were acting in response to a state of emergency constituting good cause.




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          “The essential purpose of according § 553 notice and comment opportunities is to

reintroduce public participation and fairness to affected parties after governmental authority

has been delegated to unrepresentative agencies.” Batterton v. Marshall, 648 F.2d 694, 703

(D.C. Cir. 1980). Here, the Secretary deprived the public and important stakeholders of this

opportunity. Ultimately, HHS did not have good cause to forgo the notice-and-comment

period.

          B.     The Secretary did not follow the procedures required to modify
                 performance standards under the Head Start Act.

          In addition, the Secretary did not follow the procedures set forth in the Head Start

Act. The statute requires the Secretary to comply with several requirements prior to

modifying “any” performance standards. 42 U.S.C. § 9836a(a)(2)(A).

          Under the statute, the Secretary must:

          [C]onsult with experts in the fields of child development, early childhood
          education, child health care, family services (including linguistically and
          culturally appropriate services to non-English speaking children and their
          families), administration, and financial management, and with persons with
          experience in the operation of Head Start programs.

Id. Here, “[t]he Secretary consulted with experts in child health, including pediatricians, a

pediatric infectious disease specialist, and the recommendations of the CDC and FDA.” 86

Fed. Reg. at 68,054.

          The Secretary failed, however, to consult with many of the required stakeholders.

Notable absentees from his list include experts in the fields of (1) “early childhood

education,” (2) “family services (including linguistically and culturally appropriate services

to non-English speaking children and their families),” and (3) “administration[] and

financial management.” 42 U.S.C. § 9836a(a)(2)(A). The failure to consult with “persons

with experience in the operation of Head Start programs” is even more striking. Id.


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       The defendants state tha51ertifyRule “certif[ies]” that the Secretary did consult with

those experts, repeating the general assertion that the Secretary “included relevant

considerations” under Section 9836a(a)(2) when issuing the Rule. Dkt. No. 59 at 15

(quoting 86 Fed. Reg. at 68,053–54) (emphasis added). The defendants also argue that “the

statutory text imposes no requirement that the Secretary document these considerations into

the Rule itself.” Id. Nevertheless, the Secretary went out of his way to list in the Rule the

experts with whom he consulted and, in doing so, he omitted several required by the statute.

The inclusion of those listed implies the exclusion of those not. Cf. Barnhart v. Peabody Coal

Co., 537 U.S. 149, 168 (2003) (finding that the expression of one thing implies the exclusion

of others “when the items expressed are members of an ‘associated group or series’”)

(quoting United States v. Vonn, 535 U.S. 55, 65 (2002)).

       Additionally, the Head Start Act also requires that “the Secretary [] consult with

Indian tribes, including Alaska natives, experts in Indian, including Alaska Native, early

childhood education and development, linguists, and the National Indian Head Start

Directors Association on the review and promulgation of [program performance

standards],” which the Secretary failed to do. 42 U.S.C. § 9836a(a)(2)(D). The defendants

point to the Tribal Consultation Statement included in the Rule, arguing that it indicates

that the Secretary “did in fact consult with the tribes.” Dkt. No. 59 at 16.

       But the Tribal Consultation Statement merely provides general information on tribal

consultations, such as the average number of tribal consultations per year, the geographic

location where these consultations take place, and the process through which ACF

completes reports for these consultations and submits a final report to the Secretary. 86 Fed.

Reg. at 68,052. Nowhere does it state that the defendants did, in fact, consult with the



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proper tribes, natives, and representatives before promulgating the review, like the statute

explicitly requires. See id. Instead, the Tribal Consultation Statement merely concludes,

“We invite public comment on this [Rule] if there are concerns specific to Native

communities and programs.” Id. As noted above, the inclusion of specific parties that the

Secretary actually consulted with implies the exclusion of those not listed. See Barnhart, 537

U.S. at 168.

       The defendants also claim that Biden forecloses this argument because, there, the

Supreme Court explained that, “[c]onsistent with the existence of the good cause exception,

which was properly invoked here, consultation during the deferred notice-and-comment

period is permissible.” Dkt. No. 59 at 15 (quoting Biden, 142 S. Ct. at 654). But because the

Court finds that good cause did not exist to defer the notice-and-comment period (see supra

Section 5.A), the Court finds that the Secretary was required to consult with the appropriate

parties as required by the statute but did not.

       Furthermore, the plaintiffs argue that the Secretary also failed to follow 42 U.S.C.

§ 1986a(a)(2)(C)(ii), which requires that he “ensure that any such revisions in the standards

will not result in the elimination of or any reduction in quality, scope, or types of health,

educational, parental involvement, nutritional, social, or other services required to be

provided under such standards as in effect on December 12, 2007.” In response, the

defendants argue that the Rule itself evidences that the Secretary made these considerations.

Dkt. No. 59 at 15–16. They cite a portion of the Rule which states that the Secretary

“considered the circumstances and challenges typically facing children and families served

by Head Start agencies including the disproportionate effect of COVID-19 on low-income

communities . . . and the potential for devastating consequences for children and families of



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program closures and service interruptions due to SARS-CoV-2 exposures.” Dkt. Nos. 52 at

61–62; 59 at 15–16 (quoting 86 Fed. Reg. at 68,054).

       Nevertheless, the Head Start Act explicitly requires that the Secretary consider the

quality, scope, and type of services required by the standards as they were in December

2007 in ensuring that any revisions to standards—such as the Rule here—do not eliminate

or reduce any of that quality or scope, which the Secretary did not do. 42 U.S.C.

§ 1986(a)(2)(C)(ii). The Rule contains no discussion comparing the quality, scope, and type

of services required to be provided in December 2007 to the quality, scope, and type of

services that might result after promulgation of the Rule. See 86 Fed. Reg. 68,052. And the

defendants do not cite any other document in the administrative record showing that the

Secretary complied with this provision. See Dkt. Nos. 52 at 60–62; 59 at 15–16. Thus,

while the Court does not deny that the Secretary did consider the general, potential effects

of the Rule, the defendants fail to show that the Secretary did, in fact, meet the requirement

set forth in 42 U.S.C. § 1986a(a)(2)(C)(ii).

                                 *               *            *

       The Secretary’s failure to provide a notice-and-comment period in the absence of

good cause and to follow the requirements set forth by the Head Start Act is not in

accordance with the “procedure required by law” and is “in excess of statutory . . .

limitations.” 5 U.S.C. § 706(2)(C), (D). Thus, the Rule violates the APA and the Head

Start Act on these grounds.

6.     The Rule is arbitrary and capricious.

       In addition, the Court finds that the Rule is arbitrary and capricious because it is

unreasonably overbroad without a reasonable explanation. It imposes a one-size-fits-all




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approach with no end date, failing to establish a “rational connection between the facts

found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983) (quoting Burlington Truck Lines v. United States, 371 U.S. 156,

168 (1962)). The lack of a reasoned explanation is especially concerning given that the Rule

constitutes a drastic change from Head Start’s tradition of local flexibility, CDC-reported

success in navigating the pandemic through flexibility, and the local programs’ reliance

interest on that flexibility. See Dkt. No. 39-19 at 1–2.

          A court must “hold unlawful and set aside agency action, findings and conclusions

found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” 5 U.S.C. § 706(2)(A). The Supreme Court recently rearticulated what this

standard requires:

          The APA’s arbitrary-and-capricious standard requires that agency action be
          reasonable and reasonably explained. Judicial review under that standard is
          deferential, and a court may not substitute its own policy judgment for that of
          the agency. A court simply ensures that the agency has acted within a zone of
          reasonableness and, in particular, has reasonably considered the relevant issues
          and reasonably explained the decision.

FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021) (citing FCC v. Fox Television

Stations, Inc., 556 U.S. 502, 513–14 (2009) and State Farm, 463 U.S. at 43). “Put simply,

[courts] must set aside any action premised on reasoning that fails to account for ‘relevant

factors’ or evinces ‘a clear error of judgment.’” Wages & White Lion Invs., L.L.C. 16 F.4th

1130, 1136 (5th Cir. 2021). In applying this standard, the Court is limited to “the basis

articulated by the agency itself.” State Farm, 463 U.S. at 50. Accordingly, this Court’s

review is deferential and limited., but “it is by no means a rubber stamp.” Garner, 767 F.2d

at 116.




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          Here, the Rule fails even under this deferential review. First, the Secretary made no

distinctions in the Rule based on size, location, or transmission rates. The Head Start

Rule’s requirements are universal. Contra In re MCP, 21 F.4th 357, 367 (2022) (upholding

OSHA standard applying only to employers of a certain size); Ala. Ass’n of Realtors, 141 S.

Ct. at 2490 (vacating stay of CDC eviction moratorium, which applied only in counties with

high transmission rates). Notably, the Secretary acknowledged regional differences in

COVID-19 transmission,21 but he did not “reasonably explain” his failure to accommodate

such differences. Prometheus Radio Project, 141 S. Ct. at 1158. The Secretary found that

“cases are trending downward” in some states. 86 Fed. Reg. at 68,058. But “there are

emerging indications of potential increase in others—particularly northern states where the

weather has begun to turn colder.” Id.

          An agency is “not required to identify the optimal threshold” of rule distinctions

based on size, location, or transmission rates “with pinpoint precision.” In re MCP, 21 F.4th

at 383. And “[c]ourts are ‘generally unwilling to review line-drawing performed by the

[agency] unless a petitioner can demonstrate that lines drawn . . . are patently unreasonable,

having no relationship to the underlying regulatory problem.” Id. (alteration in original)

(quoting Cassell v. FCC, 154 F.3d 478, 485 (D.C. Cir. 1998)). But the Rule does not account

for any of the previously mentioned differences. Without reasonably considering the

relevant issues or reasonably explaining the decision, it imposed a novel, universal

approach.

          Contrary to this approach, Head Start has a documented history of success from

flexible practices depending on local needs. Dkt. Nos. 56 at 91–92; 27 at 4 (OHS May 2021


21
     See 86 Fed. Reg. at 68,058.


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guidance listed in the administrative record); 29-9 (CDC report included in the

administrative record). In its May 2021 guidance, the agency recognized that “[t]o date,

OHS provided needed flexibilities and guidance that allowed programs to adapt services

based on the changing health conditions in their communities.” Dkt. No. 56 at 91 (emphasis

added). As a result, some Head Start programs offered virtual and remote services, but

“[m]any programs continued to provide in-person services for children and families

throughout the COVID-19 pandemic.” Id. The guidance instructed its in-person programs

“to continue serving children in person, as local health conditions allow” and encouraged

programs to “move to in-person services, as local health conditions allow.” Id. at 91–92

(emphasis added). During the pandemic, local programs decided to close, operate remotely

or hybrid, or offer fully in-person services, depending on their circumstances. 86 Fed. Reg.

at 68,058. In September 2021, 73% of centers were open for in-person services, 14%

operated in a hybrid model, and 4% were virtual. Id. Only 2% were entirely closed due to

COVID-19. Id. This history makes clear that the defendants recognized the importance of

tailoring COVID-19 policy for months and that local centers were able to navigate the

pandemic successfully.

       There is no doubt that Head Start’s traditional local-flexibility approach worked and

that this data of success was before the agency when it nevertheless imposed the one-size-

fits-all Rule. A December 2020 report from the CDC studied the implementation of

mitigation strategies in early childhood education settings. Dkt. No. 29-9. The CDC

reported that, while “most states required all schools (K-12) to close or transition to virtual

learning,” the Office of Head Start “gave its local programs that remained open the

flexibility to use CARES Act funds to implement CDC-recommended guidance.” Id. at 1.



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The result? “Head Start programs successfully implemented CDC-recommended mitigation

strategies and supported other practices that helped to prevent SARS-CoV-2 transmission

among children and staff members.” Id. The CDC stressed that the flexibility provided to

local Head Start programs was key to the success: “Since the COVID-19 pandemic started,

Head Start and Early Head Start programs successfully implemented CDC-recommended

mitigation strategies and applied other innovative approaches to limit SARS-CoV-2

transmission among children, teachers, and other staff members by allowing maximum

program flexibility and allocating financial and human resources.” Id. at 3. The report

concludes that “[c]hild care settings should implement concurrent preventive measures and

adjust these strategies based on community transmission data.” Id. at 4.

       Most recently, the Secretary even withdrew the previously imposed, universal mask

requirement in favor of local flexibility. 88 Fed. Reg. at 993–94. Initially, the Rule required

all Head Start students and staff to wear masks in almost all situations. The updated Final

Rule, however, explains that “[r]emoving the universal mask requirement and replacing it

with the requirement of an evidence-based COVID-19 mitigation strategy allows Head Start

programs to adapt to changing circumstances, to consider the unique challenges and needs

faced by individual programs, and still supports the safest environments for the workforce,

and the children and families Head Start serves.” Id. at 994. The Secretary persists,

however, in the Rule’s vaccine mandate—again without explanation. See id. at 993.

       Despite the longstanding practice of local flexibility and its documented success, the

defendants attempt to justify their one-size-fits-all approach by stating that it would be

“burdensome” for grant recipients that cover large geographic areas to issue different

guidance to programs in different locations. 86 Fed. Reg. at 68,066. But such a conclusory



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allegation constitutes willful ignorance of the facts and issues in a rushed attempt to achieve

its goals. Head Start agencies covered large areas and adjusted as necessary prior to the

Rule, and the defendants cite no evidence indicating that it was burdensome to do so then

or now.22 To the contrary, ACF admits that it has “relied on the importance of local health

conditions in issuing guidance to Head Start programs” before and acknowledges the

diversity in transmission rates. Id; see also id. at 68,058. Moreover, the Rule ignores CDC

guidance “that localities should monitor community transmission in making decisions” and

the CDC’s report that Head Start had successfully navigated the pandemic through

“maximum program flexibility.” Id. at 68,066; Dkt. No. 29-9 at 3.

          Rejecting or ignoring this guidance and data—and failing to articulate why local

conditions are no longer vital policy tools—ACF simply states that it is prioritizing an easy-

to-follow “clear and transparent policy” and that “children benefit from routine and

predictability.” 86 Fed. Reg. 68,066. Again, ACF cites no evidence supporting these

conclusory statements in relation to the Rule and does not provide any reasonable,

meaningful explanation of the Rule. Instead, it implements a one-size-fits-all approach

without articulating “a satisfactory explanation for its action including a ‘rational

connection between the facts found and the choice made.’” State Farm, 463 U.S. at 43

(quoting Burlington, 371 U.S. at 168). Therefore, the Court does “not defer to the agency’s

conclusory or unsupported suppositions.” United Techs. Corp. v. U.S. Dep’t of Def., 601 F.3d

557, 562–63 (D.C. Cir. 2010) (quoting McDonnell Douglas Corp. v. U.S. Dep’t of the Air Force,

375 F.3d 1182, 1187 (D.C. Cir. 2004)).




22
     Because the defendants precluded pre-promulgation comment, they appear to be guessing at the
     exact “burden[]” this will cause local agencies. See id. at 68,066.


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       The validity of this conclusion is especially apparent in light of the Rule’s drastic

change from past practice. Although an agency need not always provide a detailed

explanation for a new policy, “[s]ometimes it must.” Fox Television Stations, Inc., 556 U.S. at

515. Supreme Court precedent makes clear that when a new policy “rests upon factual

findings that contradict those which underlay its prior policy,” or when an agency’s “prior

policy has engendered serious reliance interests,” it is “arbitrary or capricious to ignore such

matters.” Id. As explained above, the Rule rests on a one-size-fits-all finding that

contradicts its prior approach, and the agency’s prior flexibility engendered serious reliance

interests. Thus, “further justification [was] demanded” but not provided, rendering the Rule

arbitrary and capricious. See id. at 516.

       The plaintiffs also argue that ACF’s failure to establish an end date is arbitrary and

capricious. Dkt. No. 54-1 at 48. In the Rule, ACF offered no explanation for its choice.

See 86 Fed. Reg. at 68,066. Rather, it only “invites comment” on whether to establish a

“finite end date.” Id. The defendants counter that ACF decided not to include an end date

because “children benefit from routine and predictability.” Dkt. No. 26 at 31 (quoting 86

Fed. Reg. at 68,066). Under a fair reading of the Rule, ACF likely did not offer that reason

to explain its choice. But even if it did, it would not support omitting an end date.

       ACF asserts that “children benefit from routine and predictability” not to explain its

choice to omit an end date but to partially explain its decision to impose universal mandates

without regard to regional transmission rates. Dkt. No. 52 at 48 (quoting 86 Fed. Reg. at

68,066). But if children benefit from predictability, then imposing an end date would serve

that purpose. By failing to include an end date, ACF made the rule’s application

unpredictable. In any event, that justification has little to no relevance upon the Head Start



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staff members facing the vaccine mandate—a concern entirely separate from whether

children have routine and predictability. Therefore, to the extent ACF actually included an

explanation for this choice, it is certainly not reasonable in the context of the vaccine

requirement. See generally Prometheus Radio Project, 141 S. Ct. at 1158. Though this is not a

stand-alone basis to invalidate the Rule, when viewed together with the Rule’s overbreadth

and change in policy, it takes the Secretary’s decision outside “the zone of reasonableness.”

Id. at 1160.

       And although the defendants point to Biden in arguing that the Rule is not arbitrary

or capricious (Dkt. No. 52 at 42), the Supreme Court reached its conclusion regarding the

CMS mandate on different grounds in a different context. The rule-making record in Biden

demonstrated that the agency examined the relevant data and articulated a satisfactory

explanation. 142 S. Ct. at 653–54. As explained above, however, the administrative record

in this case proves the opposite. Furthermore, Biden did not involve the Secretary’s sudden

shift from a long-standing and successful practice of local flexibility to a one-size-fits-all

approach, which is what occurred here. See id. Therefore, because the Rule is unreasonably

overbroad without a rational explanation, Biden is distinguishable. The Court finds that the

Rule is arbitrary and capricious in violation of the APA.

       Ultimately, for the reasons stated above, the Court finds that summary judgment

should be granted in favor of the plaintiffs. The defendants’ motion to dismiss for failure to




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state a claim and motion for summary judgment are denied.23 The Court now turns to the

issue of remedy.24

7.         The Court sets aside the Rule and holds it unlawful.

           The plaintiffs ask the Court to hold unlawful and set aside the Rule.25 Dkt. No. 54-1

at 52. For the reasons explained below, the Court grants that relief.

           A.      The Rule is vacated and remanded.

           Pursuant to the APA, a court “shall . . . hold unlawful and set aside agency action”

that is in excess of statutory authority, arbitrary and capricious, or without observance of

procedure. 5 U.S.C. § 706(2). Section 706(2) goes “beyond the mere non-enforcement

remedies available to courts” and “empowers courts to set aside—i.e., formally nullify and

revoke—an unlawful agency action.” Data Mktg. P’ship, LP v. U.S. Dep’t of Lab., 45 F.4th




23
     Where one party moves for dismissal under Rule 12 and summary judgment under Rule 56, the
     Court may treat the “hybrid” motion as “a summary judgment motion when a district court
     considers materials beyond the pleadings.” Moore v. Burlington Northern Santa Fe Railway Company,
     No. 21-20103, 2022 WL 16860550, at *2 (5th Cir. Nov. 11, 2022) (citing Isquith ex rel. Isquith v.
     Middle S. Utils. Inc., 847 F.2d 186, 193–95 (5th Cir. 1988)); see also Letcher v. Turner, 968 F.2d 508,
     509 (5th Cir. 1992).
24
      The Court is aware that other courts have reached divergent conclusions regarding the Rule. See
     Dkt. Nos. 65; 67 (notifying the Court of supplemental authority); Livingston Educational Service
     Agency v. Becerra, 35 F.4th 489, 491–93 (6th Cir. 2022) (denying a motion for an injunction pending
     appeal based on a holding that HHS likely had statutory authority and likely did not violate the
     APA); Louisiana v. Becerra, No. 3:21-CV-04370, 2022 WL 4370448, at *7–12 (W.D. La. Sept. 21,
     2022) (permanently enjoining the Rule in twenty-four states because the Secretary lacked statutory
     authority). The Court has reviewed these nonbinding cases but notes that the issues remain open
     in the Fifth Circuit. And for the reasons previously discussed, the Court is not persuaded by a
     contrary authority that the Rule is authorized or does not violate the APA.
25
      The plaintiffs also request a permanent injunction. Dkt. No. 54-1 at 52–53. However, they seek
     this request based on arguments that the Court does not and need not reach. See id. If vacatur is
     “sufficient to redress [the plaintiffs’] injury,” an injunction is not warranted. Monsanto Co. v.
     Geertson Seed Farms, 561 U.S. 139, 165–66 (2010).


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846, 859 (5th Cir. 2022) (internal quotation marks omitted). “Agency action” encompasses

“an agency rule,” such as the Rule at issue here. 26 See 5 U.S.C. § 551(13).

          When awarding relief under Section 706(2), the Court may fashion the remedy in

one of two ways: remand the Rule with vacatur or remand the Rule without vacatur. See

Texas v. United States, 50 F.4th 498, 529–30 (5th Cir. 2022). As the Fifth Circuit has

explained, the default rule is to vacate and remand the unlawful agency action. Data Mktg.

P’ship, LP, 45 F.4th at 859. Remand without vacatur, on the other hand, is an “exceptional

remedy” that courts may provide in exercising their discretion. Am. Great Lakes Ports Ass’n v.

Schultz, 962 F.3d 510, 519 (D.C. Cir. 2020); Brown v. U.S. Dep’t of Educ., No. 4:22-CV-0908,

2022 WL 16858525, at *14 (N.D. Tex. Nov. 10, 2022). Remand with vacatur “re-

establish[es] the status quo” before the unlawful agency action took place. Texas, 40 F.4th

at 220. Remand without vacatur, however, “leaves the rule in place during remand.” Am.

Forest Res. Council v. Ashe, 946 F. Supp. 2d 1, 43 (D.D.C. 2013). Consequently, “remand

without vacatur creates a risk that an agency may drag its feet and keep in place an unlawful

agency rule.” EME Homer City Generation, L.P. v. EPA, 795 F.3d 118, 132 (D.C. Cir. 2015).

As such, remand without vacatur is appropriate only “when there is at least a serious

possibility that the agency will be able to substantiate its decision given an opportunity to do

so.” State v. Biden, 10 F.4th at 560 (quoting Texas Ass’n of Mfrs. v. U.S. Consumer Prod. Safety

Comm’n, 989 F.3d 368, 389 (5th Cir. 2021)).

          When deciding whether vacatur is appropriate, a federal court considers two factors.

First, the Court evaluates “the seriousness of the deficiencies of the action,” or in other

words, “how likely it is the agency will be able to justify its decision on remand.” Texas, 50


26
     The parties do not contest that the Rule constitutes “agency action.” See Dkt. Nos. 52; 54-1.


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F.4th at 529. Second, the Court assesses “the disruptive consequences of the vacatur.” Id.

“A strong showing of one factor may obviate the need to find a similar showing of the

other.” Am. Bankers Ass’n v. Nat’l Credit Union Admin., 934 F.3d 649, 674 (D.C. Cir. 2019).

       As to the first factor, the Rule is deficient on several grounds. As previously

discussed, the Rule is not supported by statutory authority (see supra Section 4), fails to

observe procedural requirements (see supra Section 5), and is arbitrary and capricious (see

supra Section 6). Additionally, the defendants have failed to explain how they would be

able to substantiate the Rule if given the opportunity to do so; in fact, they make no attempt

to address this issue in their briefing. See Dkt. No. 59 at 22–24; see also State, 10 F.4th at 560

(noting that the agency had not explained, or even suggested, how it could substantiate its

decision in its motion or reply). Without any such explanation, and in light of the severity

of the Rule’s deficiencies, which weighs against remanding without vacatur, the Court finds

it unlikely that HHS will be able to justify its decision on remand.

       The second factor—disruptive consequences—also does not support remand without

vacatur. At the outset, the defendants do not raise any arguments as to this question, except

to state that setting aside the Rule will affect other court decisions made or currently

pending across the country. Dkt. No. 59 at 23–24. That argument is more relevant to the

question of the scope of relief, discussed in greater detail below. See infra Section 7.B. The

Court notes, however, that a preliminary injunction has been in effect in Texas since

December 31, 2021. Dkt. No. 42. And now, the Rule has been permanently enjoined in at

least twenty-four other states. Louisiana v. Becerra, No. 3:21-CV-04370, 2022 WL 4370448,

at *14 (W.D. La Sept. 21, 2022). Thus, any disruptive effect has already been limited by

these decisions. In addition, the “uncertainty that typically attends vacatur of any rule” is



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not sufficient for the second factor to weigh in favor of remanding without vacatur. Nat. Res.

Defense Council v. Wheeler, 955 F.3d 68, 85 (5th Cir. 2020). Moreover, the strong showing of

deficiencies noted above counsels against remanding the Rule without vacatur. See Am.

Bankers Ass’n, 934 F.3d at 674. Both factors, then, lead the Court to conclude that

remanding the Rule with vacatur is appropriate. Accordingly, the Court vacates the Rule.

       B.      The relief granted here—vacating the Rule—cannot be limited to the
               plaintiffs.

       The Court next considers the scope of the relief. The defendants urge the Court to

limit relief, stating that the agency action should be set aside only as to the named plaintiffs.

Dkt. No. 59 at 22–24. The defendants assert that “the APA’s general instruction that

unlawful agency action ‘shall’ be ‘set aside’ [] is insufficient” to vacate an agency action

nationwide. See id. But they fail to point to any Supreme Court or Fifth Circuit precedent

in support. See Dkt. No. 59 at 22–24. Instead, the defendants rely on cases addressing

injunctive relief. See id. at 22–23 (citing Abbott Labs. v. Gardner, 387 U.S. 136, 155 (1967);

Louisiana v. Becerra, 20 F.4th 260, 264 (5th Cir. 2021); Texas v. United States, 14 F.4th 332,

341 (5th Cir. 2021); and Marshall v. Goodyear Tire & Rubber Co., 554 F.2d 730, 735 (5th Cir.

1977)). Here, however, the Court is vacating the Rule under the APA.

       Precedent undermines the defendants’ position that vacatur should be limited to the

plaintiffs. In fact, the Supreme Court has affirmed lower court decisions universally

vacating an agency action. See, e.g., DHS v. Regents of Univ. of Cal., 140 S. Ct. 1891, 1901,

1916 & n.7 (2020). Fifth Circuit precedent interpreting Section 706(2) also establishes a

practice of vacating an agency action universally, not limiting vacatur to the named

plaintiffs. For instance, in Community Financial Services Ass’n of America, Ltd. v. Consumer

Financial Protection Bureau, two trade associations challenged a rule that the Consumer


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Financial Protection Bureau had promulgated. 51 F.4th 616, 623 (5th Cir. 2022). The Fifth

Circuit concluded that the rule violated the Appropriations Clause and separation of

powers; therefore, the rule violated the APA because the agency action was “not in

accordance with law.” Id. at 635–43 (quoting 5 U.S.C. § 706(2)(A)). The Fifth Circuit

vacated the rule universally in accordance with the APA; it did not limit the scope of the

vacatur to the named plaintiffs in that case. Id. at 643–44.

           Likewise, in Southwestern Electric Power Co. v. EPA, various environmental groups

challenged two portions of a rule that the EPA had promulgated. 920 F.3d 999, 1012 (5th

Cir. 2019). Concluding that a portion of the rule was arbitrary and capricious, the Fifth

Circuit vacated that portion and remanded it to the agency for reconsideration. Id. at 1019,

1021–22. Again, the Fifth Circuit did not limit the remedy to the plaintiffs. See id.

           Finally, in Texas v. United States, the Fifth Circuit conducted an extensive discussion

of vacatur under the APA before ultimately affirming that DACA should be vacated and

remanded. 50 F.4th at 529–30. The Fifth Circuit also affirmed the district court’s decision

to temporarily stay the order of immediate vacatur as to current DACA recipients pending

the outcome of a rulemaking proceeding, but the Fifth Circuit did not limit the scope of

vacatur to only Texas and the other plaintiff states. Id.27




27
      Other Fifth Circuit cases demonstrate the same practice of vacating an agency action without
     limiting the remedy to the plaintiffs. See, e.g., Data Mktg. P’ship, LP, 45 F.4th at 859–60; Flight
     Training Int’l, Inc. v. FAA, 58 F.4th 234, 245–46 (5th Cir. 2023); Chamber of Commerce of U.S. v. U.S.
     Dep’t of Labor, 885 F.3d 360, 388 (5th Cir. 2018). Courts across the country reach the same
     conclusion. See, e.g., Harmon v. Thornburgh, 878 F.2d 484, 495 n.21 (D.C. Cir. 1989); Nat’l Min.
     Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998); Make the Rd. New York v.
     McAleenan, 405 F. Supp. 3d 1, 66–72 (D.D.C. 2019) (Jackson, J.), rev’d and remanded on other
     grounds, 962 F.3d 612 (D.C. Cir. 2020); New York v. Dep’t of Com., 351 F. Supp. 3d 502, 672
     (S.D.N.Y. 2019), aff’d in part, rev’d in part on other grounds, 139 S. Ct. 2551 (2019).



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           In light of this precedent and the Court’s findings and conclusion, following the

precedent before the Court, the relief is not limited to the State of Texas and LISD. Rather,

the Rule shall be universally set aside. 28

           C.       The entirety of the Rule is vacated.

           The defendants ask the Court to apply severability principles and consider setting

aside only the portion of the Rule that violates the APA. Dkt. No. 59 at 24. An “[a]gency

action” includes “the whole or a part of an agency rule.” 5 U.S.C. § 551(13). And as

explained in Section 706(2), agency action that is in excess of statutory authority, is

arbitrary or capricious, or fails to follow procedural requirements must be “set aside.”

Therefore, a court may set aside “only the part of a rule found to be invalid.” Franciscan

Alliance, Inc. v. Azar, 414 F. Supp. 3d 928, 945 n.7 (N.D. Tex. Oct. 15, 2019). Accordingly,

in applying Section 706(2), the Fifth Circuit has previously vacated agency rules both in

whole and in part. See, e.g., Chamber of Com. of U.S. v. U.S. Dep’t of Lab., 885 F.3d 360, 388

(5th Cir. 2018); Sw. Elec. Power Co., 920 F.3d at 1022. A court exceeds its statutory scope of

review in vacating an agency rule in whole if “only a part is invalid” and “the remaining



28
      The Court is aware that the Supreme Court is currently considering what “set aside” under the
     APA means. See United States v. Texas, 143 S. Ct. 51 (2022) (granting certiorari and instructing the
     parties to address whether an immigration statute prevents courts from setting aside administrative
     guidelines under the APA); Transcript of Oral Argument at 36, United States v. Texas (No. 22-58)
     (“Your position on vacatur, that sounded to me to be fairly radical and inconsistent with, for
     example, you know, with those of us who were on the D.C. Circuit, you know, five times before
     breakfast, and that’s what you do in an APA case.”) (Roberts, C.J.). In addition, there is ongoing
     scholarly debate on the subject, with some arguing that vacatur under the APA is universal and
     others claiming that any relief should be limited in scope to only the plaintiffs. Compare Mila
     Sohoni, The Power to Vacate a Rule, 88 Geo. Wash. L. Rev. 1121 (2020), with John Harrison, Section
     706 of the Administrative Procedure Act Does Not Call for Universal Injunctions or Other Universal Remedies,
     37 Yale J. On Reg. Bull. 37, 41 (2020), and Samuel L. Bray, Multiple Chancellors: Reforming the
     National Injunction, 131 Harv. L. Rev. 417 (2017). However, because the Supreme Court has not
     yet reached a decision, the Court follows Fifth Circuit precedent in vacating the Rule without
     limitation to the named plaintiffs. See, e.g., Sw. Elec. Power Co., 920 F.3d at 1022; Cmty. Fin. Servs.
     Ass’n of Am., Ltd., 51 F.4th at 643; Texas, 50 F.4th at 529–30.


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portion may sensibly be given independent life.” Franciscan Alliance, Inc., 414 F. Supp. 3d at

945 n.7. Here, the plaintiffs challenge the Rule as a whole. Dkt. No. 1 at 65–69.

           As explained in Sections 5 and 6, the Rule as a whole violates the APA because the

Secretary did not follow proper rulemaking procedures in promulgating the Rule, and the

Rule is arbitrary and capricious. These violations do not encompass merely portions of the

Rule. The Rule also exceeds statutory authority. See supra Section 4. Therefore, the entire

rule is invalid. See Franciscan Alliance, Inc., 414 F. Supp. 3d at 945 n.7. In any event, the

vaccine requirement and other portions of the Rule still in force are intertwined with and

connected to one another.29 86 Fed. Reg. 68,052. Therefore, the Rule is “not amenable to

severance.” Chamber of Com. of U.S., 885 F.3d 360 at 388. Ultimately, then, the Rule in its

entirety must be set aside.

           In an attempt to avoid this conclusion, the defendants cite a severability clause

within the Rule, which states that, “[t]o the extent a court may enjoin any part of the rule,

the Department intends that other provisions or parts of provisions should remain in effect.”

86 Fed. Reg. at 68,059–60. Nevertheless, “the ultimate determination of severability will

rarely turn on the presence or absence of a severability clause.” Nasdaq Stock Mkt. LLC v.

SEC, 38 F.4th 1126, 1145 (D.C. Cir. 2022) (internal quotation marks omitted). Instead,

courts must look to whether any remaining valid portions can still function absent the




29
     The masking requirement constituted a major portion of the Rule, as well. See 86 Fed. Reg. at
     68,058. However, as explained above, the Secretary has since removed that requirement in its
     Final Rule. See supra Section 1. The Court does not explicitly address the masking requirement
     but notes that, in any event, it would have violated the APA, too, for reasons discussed in Sections
     4, 5, and 6.


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invalid portions. Id. Here, because the Rule in its entirety violates the APA and is not

amenable to severance, the Court sets aside the Rule in whole.30

8.         Conclusion

           Approximately three years have passed since the start of the COVID-19 pandemic in

the United States. See 85 Fed. Reg. 15337 (Mar. 18, 2020). Schools both in Texas and

across the country have returned to in-person classes and dropped vaccine and masking

requirements.31 Numerous vaccine mandates have since been repealed or removed.32 And

President Biden has announced that the U.S. will be ending the COVID-19 national

emergency and public health emergency declarations in May 2023.33 HHS has since

removed the Rule’s masking requirement and even implemented a local-level, COVID-19

mitigation strategy in its Final Rule, returning once again to community-wide flexibility. 88

Fed. Reg. 993. Yet, the Rule’s vaccine mandate for Head Start staff, contractors, and

volunteers remains in force. Id. And although HHS stated that the vaccine mandate was


30
      The Court notes that the plaintiffs are not challenging the Final Rule. See Dkt. No. 54-1. In any
     event, the Final Rule clearly states that it “does not address the vaccination and testing
     requirement, which is still under review.” 88 Fed. Reg. at 993.
31
      See Ariel Gilreath, For Head Start, Masks and Vaccine Mandates are Still in Place—For Now (Sept. 7,
     2022), https://hechingerreport.org/for-head-start-masks-and-vaccine-mandates-are-still-in-place-
     for-now/ [https://perma.cc/A5C4-KZDC]; Dana Goldstein, At Head Start, Masks Remain On,
     Despite C.D.C. Guidelines, https://www.nytimes.com/2022/09/07/us/head-start-masks-
     toddlers.html?partner=IFTTT (last modified Sept. 9, 2022) [https://perma.cc/ET42-7A58].
32
      See, e.g., United States Department of Defense, DOD Rescinds COVID-19 Vaccination Mandate (Jan.
     10, 2023), https://www.defense.gov/News/Releases/Release/Article/3264323/dod-rescinds-
     covid-19-vaccination-mandate/ [https://perma.cc/RTB2-6K7T]; Guidance for Executive Order
     14042, Office of Management and Budget (Oct. 19, 2022), https://www.saferfederalworkforce.
     gov/downloads/OMB%20Guidance%20for%20Agencies_EO%2014042_20221019.pdf
     [https://perma.cc/7J3R-Y9CL] (suspending enforcement of Executive Order 14042, which
     required certain federal-contractor employees to obtain COVID-19 vaccines).
33
     Zeke Miller & Amanda Seitz, President Biden to End COVID-19 Emergencies on May 11 (Jan. 20,
     2023), https://apnews.com/article/biden-united-states-government-district-of-columbia-covid-
     public-health-2a80b547f6d55706a6986debc343b9fe [https://perma.cc/KE23-7PKV].


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“under review” in its Final Rule, HHS did not provide a deadline or clear answer as to the

status of that review—only that Head Start staff are still subject to the requirement. Id.

Thus, while other mandates and organizations adjust and move forward, Head Start’s

vaccine mandate and this dispute remain.

       Because LISD and Texas have standing, the Secretary did not have statutory

authority to promulgate the Rule, the Rule violates procedural requirements, and the Rule is

arbitrary and capricious, the Court grants the plaintiffs’ motion for summary judgment (Dkt.

No. 54). The defendants’ motion to dismiss (Dkt. No. 48) and motion for summary

judgment (Dkt. No. 49) are denied. The Court sets aside and vacates the Interim Final

Rule. The Court either does not reach or denies all other requested relief. The Court will

enter a final judgment, including a seven-day administrative stay, by separate order.

       So ordered on March 31, 2023.



                                                     ____________________________________
                                                     JAMES WESLEY HENDRIX
                                                     UNITED STATES DISTRICT JUDGE




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